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                        EXHIBIT A
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                              PROJECT 000002 – EXAMINER TIME


Date       Name                   Hours   Description

08/01/24   Robert J. Cleary        0.20   Emails to L. Potter and J. Vitullo re: cooperators.

08/01/24   Robert J. Cleary        0.20   Telephone call with K. Gardner re: potential conflict
                                          issue.

08/01/24   Robert J. Cleary        0.50   Edit Motion to Amend Scope Order.

08/02/24   Robert J. Cleary        0.70   Review documents re: upcoming interview of FTX
                                          executive.

08/02/24   Robert J. Cleary        0.70   Edit Motion to Extend Report II deadline.

08/02/24   Robert J. Cleary        0.10   Emails to L. Potter and J. Vitullo re: scheduling witness
                                          interview.

08/02/24   Robert J. Cleary        0.30   Emails to D. Lowenthal, L. Potter, J. Vitullo, G. Baker,
                                          and K. Black re: extending deadline for filing report.

08/03/24   Robert J. Cleary        1.30   Review documents re: upcoming interview of former FTX
                                          executive.

08/03/24   Robert J. Cleary        0.70   Edit Motion to Shorten Time.

08/05/24   Robert J. Cleary        0.70   Review outline for interview of former FTX executive.

08/05/24   Robert J. Cleary        0.40   Various emails to D. Lowenthal, K. Black and M.
                                          DeBaecke (AG) re: Motion to Amend and Motion to
                                          Shorten Time.

08/05/24   Robert J. Cleary        0.30   Review final versions of Motion Amend and Motion to
                                          Shorten Time.

08/05/24   Robert J. Cleary        0.20   Call with D. Lowenthal and K. Black re: response to Fee
                                          Examiner’s letter.

08/06/24   Robert J. Cleary        0.20   Review objections to fee applications.

08/06/24   Robert J. Cleary        0.20   Various emails to PBWT team re: scheduling witness
                                          interviews.

08/06/24   Robert J. Cleary        2.30   Attend witness interviews of S&C attorneys with D.
                                          Lowenthal, D. Erroll and K. Black re: Robinhood.




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                              PROJECT 000002 – EXAMINER TIME


Date       Name                   Hours   Description

08/07/24   Robert J. Cleary        1.80   Review documents to be used in interview of former FTX
                                          executive.

08/07/24   Robert J. Cleary        0.80   Prepare for weekly team meeting.

08/07/24   Robert J. Cleary        2.60   Interview former FTX Group executive with L. Potter, J.
                                          Vitullo, D. Lowenthal, K. Black, and L. Doxey.

08/07/24   Robert J. Cleary        1.20   Prepare for interview of former FTX executive.

08/07/24   Robert J. Cleary        0.50   Participate in meeting with D. Lowenthal, J. Vitullo, I.
                                          Eppler, K. Black, D. Erroll, J. Dikkers, L. Doxey, and M.
                                          Garcia re: status of investigations and timeline for drafting
                                          report.

08/08/24   Robert J. Cleary        0.40   Zoom meeting with Fee Examiner to discuss fee
                                          applications.

08/08/24   Robert J. Cleary        1.80   Prepare for Zoom meeting with Fee Examiner to discuss
                                          fee applications.

08/08/24   Robert J. Cleary        0.80   Review notes of team meetings in preparation for Zoom
                                          meeting with Fee Examiner.

08/08/24   Robert J. Cleary        0.20   Review responses to objections to fee applications.

08/08/24   Robert J. Cleary        1.40   Review documents to be used in interview of former FTX
                                          executive.

08/08/24   Robert J. Cleary        1.20   Interview former FTX Group executive with L. Potter, J.
                                          Vitullo, D. Lowenthal, K. Black, L. Doxey, and J.
                                          Dikkers.

08/08/24   Robert J. Cleary        0.30   Review unsolicited materials sent by FTX customer.

08/09/24   Robert J. Cleary        0.30   Emails to L. Potter re: S&C document production.

08/09/24   Robert J. Cleary        0.40   Conference with D. Lowenthal, and K. Black re:
                                          consideration of additional witnesses for the Phase II
                                          work streams.

08/09/24   Robert J. Cleary        0.50   Prepare for interview of former FTX executive.



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                              PROJECT 000002 – EXAMINER TIME


Date       Name                   Hours   Description

08/09/24   Robert J. Cleary        0.20   Review Moskowitz withdrawal of objection to PBWT fee
                                          application.

08/09/24   Robert J. Cleary        1.10   Review documents to be used in interview of former FTX
                                          executive.

08/10/24   Robert J. Cleary        1.10   Review materials from unsolicited sources.

08/11/24   Robert J. Cleary        1.10   Prepare for interview of former FTX executive.

08/12/24   Robert J. Cleary        0.90   Interview former FTX employee with K. Black and D.
                                          Lowenthal re: LedgerX and Robinhood.

08/12/24   Robert J. Cleary        1.80   Review outline for interview of former FTX executive
                                          (.5); review documents to be used in interview of former
                                          FTX executive (1.3).

08/13/24   Robert J. Cleary        1.50   Review documents to be used in interview of former FTX
                                          executive.

08/13/24   Robert J. Cleary        0.70   Prepare for interview of former FTX executive.

08/13/24   Robert J. Cleary        1.50   Interview former FTX Group executive with L. Potter, J.
                                          Vitullo, D. Lowenthal, and L. Doxey.

08/13/24   Robert J. Cleary        0.30   Telephone call with L. Potter re: follow-up to witness
                                          interview and letter re: witness (.2); review draft of letter
                                          (.1).

08/13/24   Robert J. Cleary        1.20   Participate (partial) in interview of former FTX executive
                                          with D. Lowenthal (partial), L. Potter, J. Vitullo, and I.
                                          Eppler.

08/13/24   Robert J. Cleary        0.60   Participate (partial) in interview of third-party witness
                                          with D. Lowenthal and J. Dikkers.

08/14/24   Robert J. Cleary        2.20   Participate in interview of former FTX executive with L.
                                          Potter, J. Vitullo, K. Black, and I. Eppler.

08/14/24   Robert J. Cleary        1.30   Prepare for team meeting.




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                              PROJECT 000002 – EXAMINER TIME


Date       Name                   Hours   Description

08/14/24   Robert J. Cleary        0.90   Participate in meeting with D. Lowenthal, L. Potter, J.
                                          Vitullo, I. Eppler, K. Black, D. Erroll, J. Dikkers, L.
                                          Doxey, and M. Garcia re: status of investigations and
                                          timeline for drafting report.

08/14/24   Robert J. Cleary        0.80   Prepare for interview of former FTX executive.

08/14/24   Robert J. Cleary        0.30   Telephone with D. Lowenthal re: today's team meeting;
                                          follow up from the same.

08/14/24   Robert J. Cleary        0.20   Confer with J. Vitullo and L. Potter re: scheduling and
                                          drafting of the Report.

08/15/24   Robert J. Cleary        1.20   Review notes of witness interviews.

08/15/24   Robert J. Cleary        0.30   Review emails from S&C re: documents provided.

08/15/24   Robert J. Cleary        0.20   Review Ashby & Geddes Monthly Fee Statement.

08/15/24   Robert J. Cleary        0.20   Telephone call with L. Potter re: case status and updates.

08/20/24   Robert J. Cleary        0.50   Review various emails from J. Vitullo, L. Potter, L.
                                          Doxey, I. Eppler, K. Black, J. Dikkers and D. Lowenthal
                                          re: documents produced by S&C.

08/21/24   Robert J. Cleary        0.50   Emails to D. Lowenthal re: today's team meeting (.2);
                                          emails with S. Ehrenberg (S&C) re: upcoming interviews
                                          and meeting with consultants re: the "hole" (.2); review
                                          draft CNO re: PBWT second fee statement (.1).

08/23/24   Robert J. Cleary        1.30   Review documents to be shared with I. Graff (Fried
                                          Frank) re: our interview of a former FTX executive.

08/24/24   Robert J. Cleary        0.20   Emails to J. Vitullo re: potential Rule 2004 Motion.

08/24/24   Robert J. Cleary        0.20   Emails to D. Lowenthal, J. Vitullo, G. Baker, L. Potter re:
                                          information provided by an unsolicited source.

08/26/24   Robert J. Cleary        0.80   Edit Rule 2004 Motion.

08/26/24   Robert J. Cleary        0.30   Edit Motion to Shorten Time re: Rule 2004 Motion.




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                              PROJECT 000002 – EXAMINER TIME


Date       Name                   Hours   Description

08/26/24   Robert J. Cleary        0.20   Email to D. Lowenthal, L. Potter, G. Baker, and J. Vitullo
                                          re: materials submitted by an unsolicited source.

08/26/24   Robert J. Cleary        2.50   Review materials submitted by an unsolicited source.

08/26/24   Robert J. Cleary        1.30   Review documents to be shared with A. Devlin-Brown
                                          (Covington) re: our interview of a former FTX executive.

08/27/24   Robert J. Cleary        2.10   Interview former FTX executive with L. Potter, J. Vitullo,
                                          and I. Eppler.

08/27/24   Robert J. Cleary        0.40   Review July proformas.

08/27/24   Robert J. Cleary        0.30   Make final edits to Rule 2004 Motion.

08/27/24   Robert J. Cleary        0.40   Confer with L. Potter, J. Vitullo, and I. Eppler re:
                                          interview of former FTX executive.

08/27/24   Robert J. Cleary        0.50   Review AlixPartners analysis of FTX.US Custodial Assets
                                          vs. Customer Liabilities.

08/27/24   Robert J. Cleary        0.80   Prepare for this afternoon's interview of a former FTX
                                          executive.

08/27/24   Robert J. Cleary        0.30   Review emails from J. Vitullo re: searches conducted and
                                          documents produced by S&C.

08/28/24   Robert J. Cleary        0.20   Review AlixPartners spreadsheets provided by S&C.

08/28/24   Robert J. Cleary        0.70   Participate in Zoom meeting with D. Lowenthal, L. Potter,
                                          J. Vitullo, I. Eppler, K. Black, J. Dikkers, and M. Garcia
                                          re: status of investigations and timeline for drafting report.

08/28/24   Robert J. Cleary        1.20   Prepare for today's team meeting.

08/28/24   Robert J. Cleary        0.20   Emails to D. Lowenthal re: today's team meeting.

08/28/24   Robert J. Cleary        0.40   Review documents provided by an unsolicited source.

08/28/24   Robert J. Cleary        0.40   Various emails with J. Vitullo, I. Eppler, K. Black and D.
                                          Lowenthal team re: Rule 2004 Motion.

08/29/24   Robert J. Cleary        0.40   Edit Third Monthly Fee Statement.



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                              PROJECT 000002 – EXAMINER TIME


Date       Name                   Hours   Description

08/29/24   Robert J. Cleary        1.00   Interview former FTX.US employee with D. Lowenthal,
                                          L. Potter, J. Vitullo, K. Black, and I. Eppler.

08/29/24   Robert J. Cleary        0.20   Confer with D. Lowenthal, L. Potter, J. Vitullo, K. Black,
                                          and I. Eppler following interview of former FTX.US
                                          employee.

08/29/24   Robert J. Cleary        0.40   Prepare for interview of former FTX executive.

08/30/24   Robert J. Cleary        0.40   Review final edits to Third Fee Statement (.1); various
                                          emails to J. Vitullo, D. Lowenthal and M. DeBaecke (AG)
                                          re: Rule 2004 Motion (.3).



TOTAL                             60.90




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                            PROJECT 000003 – COURT HEARINGS

Date       Name                   Hours   Description

08/13/24   Daniel A. Lowenthal    0.20    Review Agenda letter (.1); emails to and from M.
                                          DeBaecke (AG) re: same and hearing logistics (.1).



TOTAL                             0.20




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                  PROJECT 000004 – REPORT PREPARATION AND DRAFTING

Date       Name                   Hours   Description

08/01/24   Daniel A. Lowenthal    1.00    Revise Phase II Report.

08/01/24   Ian Eppler             0.50    Prepare updated style guide for drafting of Phase II Report.

08/02/24   Daniel A. Lowenthal    0.20    Review revised motion to extend the due date of the Phase
                                          II Report (.1); email R. Cleary and K. Black re: same (.1).

08/05/24   Kimberly Black         0.70    Drafting report rider on Robinhood investigation.

08/06/24   Daniel A. Lowenthal    0.70    Draft Phase II Report.

08/06/24   Kimberly Black         1.20    Revising draft summary of LedgerX background.

08/06/24   Kimberly Black         0.50    Revising draft Robinhood rider.

08/06/24   Johanna-Sophie         0.10    Review of FTX.US executive materials re: valuation of
           Dikkers                        LedgerX.

08/07/24   Daniel A. Lowenthal    0.50    Draft Phase II Report.

08/07/24   Kimberly Black         0.70    Commenting on draft Section 546(e) analysis.

08/08/24   Daniel A. Lowenthal    0.50    Draft Phase II Report.

08/08/24   Kimberly Black         0.30    Reviewing comments from D. Lowenthal on LedgerX legal
                                          research.

08/08/24   Kimberly Black         0.50    Drafting Robinhood section of the Phase II Report.

08/08/24   Johanna-Sophie         0.10    Revising LedgerX section of Phase II Report.
           Dikkers

08/09/24   Kimberly Black         2.00    Drafting summary of Robinhood representation.

08/12/24   Daniel A. Lowenthal    1.30    Draft Phase II Report.

08/12/24   David Erroll           1.20    Edits to draft report section re: Robinhood equity purchase.

08/12/24   Kimberly Black         0.20    Corr. to D. Lowenthal re: draft section of the report on
                                          Robinhood.

08/12/24   Kimberly Black         0.40    Revising section of the Robinhood report based on
                                          feedback from D. Erroll.



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                  PROJECT 000004 – REPORT PREPARATION AND DRAFTING

Date       Name                  Hours   Description

08/12/24   Kimberly Black        1.00    Drafting report rider on Robinhood background.

08/12/24   Johanna-Sophie        1.10    Revising LedgerX section of Phase II Report.
           Dikkers

08/13/24   Daniel A. Lowenthal   2.70    Draft Phase II Report.

08/13/24   Kimberly Black        0.30    Reviewing D. Lowenthal comments to draft LedgerX rider;
                                         related corr. to D. Lowenthal.

08/13/24   Kimberly Black        0.30    Reviewing revised section 548 section of the report.

08/13/24   Johanna-Sophie        1.20    Revising LedgerX section of Phase II Report.
           Dikkers

08/14/24   Daniel A. Lowenthal   0.50    Draft Phase II Report.

08/15/24   Daniel A. Lowenthal   3.00    Draft Phase II Report.

08/15/24   Jason Vitullo         2.20    Revise outline of Phase II Report (1.0); send the same to L.
                                         Potter (0.1); related emails with L. Potter (0.2); further
                                         revisions (0.8); circulate to team (0.1).

08/15/24   Lauren S. Potter      0.50    Analyze issues regarding draft Phase II Report.

08/15/24   Lauren Doxey          0.10    Review report outline circulated by J. Vitullo.

08/15/24   Johanna-Sophie        0.30    Revising LedgerX section of Phase II Report.
           Dikkers

08/16/24   Johanna-Sophie        1.00    Revising Section 546(e) rider and LedgerX section.
           Dikkers

08/16/24   Johanna-Sophie        0.50    Revising LedgerX section of Phase II Report.
           Dikkers

08/19/24   Ian Eppler            1.60    Begin drafting background sections of Phase II Report.

08/19/24   Lauren Doxey          0.60    Draft assigned portion of report.

08/20/24   Daniel A. Lowenthal   0.70    Draft Phase II Report.

08/20/24   Ian Eppler            2.00    Drafting methodology sections of Phase II Report.



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                  PROJECT 000004 – REPORT PREPARATION AND DRAFTING

Date       Name                  Hours   Description

08/20/24   Ian Eppler            0.30    Emails to K. Black, J. Dikkers, and D. Erroll re:
                                         methodology for LedgerX/Robinhood sections of Phase II
                                         Report.

08/20/24   Kimberly Black        0.10    Corr. to D. Lowenthal re: current draft LedgerX
                                         background section.

08/20/24   Kimberly Black        0.20    Corr. to I. Eppler re: Examiner's methodology section of
                                         the report.

08/20/24   Johanna-Sophie        0.20    Review of points for write up of methodology section of
           Dikkers                       LedgerX.

08/21/24   Daniel A. Lowenthal   1.60    Draft Phase II Report.

08/21/24   Kimberly Black        0.80    Implementing edits to the LedgerX section based on
                                         comments from D. Lowenthal.

08/21/24   Lauren Doxey          1.50    Draft assigned portion of Phase II Report.

08/21/24   Johanna-Sophie        0.50    Revising LedgerX section of Phase II Report.
           Dikkers

08/22/24   Daniel A. Lowenthal   1.90    Draft Phase II Report.

08/22/24   Ian Eppler            1.40    Begin drafting FTX.US investigation report.

08/22/24   David Erroll          1.00    Draft updates to report section re: Robinhood transaction.

08/22/24   Kimberly Black        0.50    Revising LedgerX section of report; related corr. with D.
                                         Lowenthal and J. Dikkers.

08/22/24   Lauren Doxey          1.60    Draft assigned portion of report.

08/22/24   Johanna-Sophie        0.50    Review of revised LedgerX facts section.
           Dikkers

08/23/24   Daniel A. Lowenthal   1.60    Draft Phase II Report.

08/23/24   Ian Eppler            3.10    Continue drafting FTX.US investigation report.

08/23/24   David Erroll          0.80    Draft updates to report section re: Robinhood transaction.




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                  PROJECT 000004 – REPORT PREPARATION AND DRAFTING

Date       Name                  Hours   Description

08/23/24   Kimberly Black        0.20    Corr. to D. Erroll re: statements from witness regarding
                                         Robinhood and incorporation into Draft Phase II Report.

08/23/24   Kimberly Black        0.70    Commenting on Robinhood rider (.5); related corr. with D.
                                         Erroll (.2).

08/23/24   Lauren Doxey          3.30    Draft assigned portion of report.

08/23/24   Johanna-Sophie        0.50    Drafting LedgerX section of FTX Report.
           Dikkers

08/24/24   Ian Eppler            0.30    Review draft background and methodology section of
                                         FTX.US report.

08/26/24   Daniel A. Lowenthal   1.90    Draft Phase II Report.

08/26/24   Kimberly Black        0.40    Implementing comments from D. Lowenthal on draft
                                         Robinhood rider.

08/26/24   Kimberly Black        0.40    Reviewing additional edits to the draft Robinhood section;
                                         related corr. with D. Lowenthal.

08/27/24   Daniel A. Lowenthal   0.30    Draft Phase II Report.

08/27/24   Kimberly Black        1.00    Commenting on draft LedgerX analysis section.

08/27/24   Kimberly Black        1.00    Drafting Robinhood section of Phase II Report.

08/28/24   Lauren S. Potter      0.20    Review draft sections of Phase II Report.

08/28/24   Kimberly Black        0.10    Corr. to J. Dikkers re: draft LedgerX analysis.

08/29/24   Lauren S. Potter      0.40    Review draft sections of Phase II Report.

08/29/24   Kimberly Black        1.60    Commenting on draft LedgerX analysis rider.

08/30/24   Ian Eppler            3.80    Begin drafting findings section of FTX.US Report.

08/30/24   Kimberly Black        0.70    Drafting Robinhood rider to draft Phase II Report.

08/31/24   Lauren Doxey          3.20    Draft assigned section of Phase II Report.




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               PROJECT 000004 – REPORT PREPARATION AND DRAFTING

Date    Name                 Hours   Description

TOTAL                        69.80




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           PROJECT 000005 – DOCUMENT REQUESTS AND FORMAL DISCOVERY

Date       Name                  Hours   Description

08/02/24   Lauren Doxey          0.20    Email correspondence to L. Potter, J. Vitullo, and I. Eppler
                                         re: S&C document production.

08/05/24   Jason Vitullo         0.40    Confer with L. Doxey, L. Potter and I. Eppler re:
                                         production of materials from S&C and follow-up re: same.

08/05/24   Lauren Doxey          0.10    Emails to I. Eppler, J. Vitullo, L. Potter re: production of
                                         documents from S&C.

08/13/24   Jason Vitullo         0.20    Coordinate collection and review of additional FTX.US
                                         investigation documents.

08/13/24   Ian Eppler            0.20    Correspondence to L. Potter, J. Vitullo, L. Doxey, and D.
                                         Erroll re: additional custodians for FTX.US document
                                         review.

08/13/24   Ian Eppler            0.90    Investigate issues related to collection and production of
                                         Signal messages and correspond with S&C re: same.

08/21/24   Daniel A. Lowenthal   0.10    Emails from K. Black and M. DeBaecke (AG) re: Rule
                                         2004 procedure.

08/21/24   Jason Vitullo         0.30    Confer with team and M. DeBaecke (Ashby & Geddes) re:
                                         potential Rule 2004 motion.

08/21/24   Kimberly Black        0.20    Corr. with M. DeBaecke (AG) re: Rule 2004 motions.

08/22/24   Daniel A. Lowenthal   0.30    Analyze Rule 2004 issues.

08/22/24   Kimberly Black        0.20    Corr. with J. Vitullo and M. DeBaecke (AG) re: Rule 2004
                                         Motion.

08/23/24   Jason Vitullo         0.10    Call with K. Black re: Rule 2004 Motion.

08/23/24   Jason Vitullo         0.20    Draft correspondence re: Rule 2004 Motion.

08/23/24   Kimberly Black        2.90    Drafting Rule 2004 Motion (1.5); drafting Motion to
                                         Shorten notice on Rule 2004 examination (1.4).

08/23/24   Kimberly Black        0.10    Call with J. Vitullo re: Rule 2004 Motion.

08/23/24   Kimberly Black        0.10    Corr. to M. DeBaecke (AG) re: Rule 2004 motions.




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           PROJECT 000005 – DOCUMENT REQUESTS AND FORMAL DISCOVERY

Date       Name                  Hours   Description

08/26/24   Daniel A. Lowenthal   0.50    Provide comment on Rule 2004 Motion papers.

08/26/24   Kimberly Black        0.80    Drafting Rule 2004 Motion (.4); drafting related Motion to
                                         Shorten (.4).

08/26/24   Kimberly Black        0.50    Implementing edits on draft Rule 2004 Motion and related
                                         Motion to Shorten.

08/27/24   Daniel A. Lowenthal   0.30    Review draft Rule 2004 Motion.

08/27/24   Jason Vitullo         0.20    Confer with R. Cleary, I. Eppler, K. Black, D. Lowenthal
                                         and L. Potter re: strategy for Rule 2004 Motion.

08/27/24   Jason Vitullo         0.30    Revise draft Rule 2004 Motion.

08/27/24   Ian Eppler            0.50    Edit draft Rule 2004 Motion to compel testimony of former
                                         FTX.US executive.

08/27/24   Kimberly Black        0.50    Corr. to J. Vitullo re: follow-up on Rule 2004 Motion;
                                         reviewing comments from J. Vitullo on the same.

08/27/24   Kimberly Black        0.80    Corr. with M. DeBaecke (AG) re: Rule 2004 Motion (.2);
                                         revising draft Rule 2004 Motion based on comments from
                                         Ashby & Geddes (.4); revising draft Motion to Shorten
                                         based on comments from Ashby & Geddes (.2).

08/27/24   Kimberly Black        0.10    Corr. to I. Eppler re: Rule 2004 Motion.

08/28/24   Daniel A. Lowenthal   1.00    Analyze next steps for Rule 2004 Motion.

08/28/24   Daniel A. Lowenthal   0.30    Work on Rule 2004 Motion papers.

08/28/24   Daniel A. Lowenthal   0.30    Follow-up call with K. Black re: Rule 2004 Motion.

08/28/24   Daniel A. Lowenthal   0.50    Emails to J. McMahon (UST), S. Ehrenberg (S&C), and K.
                                         Pasquale (PH) re: Rule 2004 Motion.

08/28/24   Jason Vitullo         0.60    Comment on new draft Rule 2004 Motion.

08/28/24   Ian Eppler            0.20    Correspondence to R. Cleary, D. Lowenthal, J. Vitullo, L.
                                         Potter, and K. Black re: Rule 2004 Motion to compel
                                         testimony of former FTX.US employee.




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           PROJECT 000005 – DOCUMENT REQUESTS AND FORMAL DISCOVERY

Date       Name                  Hours   Description

08/28/24   Kimberly Black        0.50    Revising draft Motion to Shorten Rule 2004 Motion (.3);
                                         related corr. to D. Lowenthal (.1); related corr. to M.
                                         DeBaecke (AG) (.1).

08/28/24   Kimberly Black        0.10    Corr. to M. DeBaecke (AG) re: timing of filing Rule 2004
                                         Motion.

08/28/24   Kimberly Black        0.50    Revising draft Rule 2004 Motion (.2); corr. to D.
                                         Lowenthal re: notifying parties of Motion to Shorten (.1);
                                         draft notice email (.2).

08/28/24   Kimberly Black        0.50    Corr. to J. Vitullo re: strategy on Rule 2004 Motion.

08/28/24   Kimberly Black        0.20    Corr. to J. Vitullo re: latest draft Rule 2004 Motion and
                                         notice to deposition target; revising draft notice to
                                         deposition target.

08/28/24   Kimberly Black        0.30    Follow-up call with D. Lowenthal re: Rule 2004 Motion.

08/29/24   Daniel A. Lowenthal   0.40    Email R. Cleary, L. Potter, J. Vitullo, I. Eppler, and K.
                                         Black information on the Rule 2004 filing.

08/29/24   Daniel A. Lowenthal   0.10    Emails from M. DeBaecke (AG) and K. Black re: Rule
                                         2004 Motion.

08/29/24   Daniel A. Lowenthal   0.20    Emails with M. DeBaecke (Ashby & Geddes) re: service of
                                         Rule 2004 Motion.

08/29/24   Jason Vitullo         0.40    Correspondence to D. Lowenthal, K. Black re: finalizing,
                                         filing, and serving Rule 2004 Motion.

08/29/24   Ian Eppler            0.20    Emails to D. Lowenthal, L. Potter, and J. Vitullo re:
                                         finalizing Rule 2004 Motion to compel testimony of
                                         FTX.US employee.

08/29/24   Kimberly Black        0.40    Preparing finalized Rule 2004 Motion; preparing finalized
                                         Motion to Shorten notice for Rule 2004 Motion.

08/29/24   Kimberly Black        0.50    Corr. with M. DeBaecke (AG) re: status on Rule 2004
                                         Motion (.1); reviewing draft 2004 Motion based on
                                         comments from Ashby & Geddes (.4).




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           PROJECT 000005 – DOCUMENT REQUESTS AND FORMAL DISCOVERY

Date       Name                  Hours   Description

08/30/24   Daniel A. Lowenthal   0.20    Emails with M. DeBaecke (AG) re: his discussion with
                                         chambers concerning the Motion to Shorten (0.1); send
                                         same to J. Vitullo (0.1).

08/30/24   Jason Vitullo         0.10    Correspondence to L. Nguyen (former FTX) re: filed Rule
                                         2004 Motion.

08/30/24   Kimberly Black        0.30    Corr. from J. Vitullo re: update on Rule 2004 Motion (.1);
                                         corr. with M. DeBaecke (AG) re: the same (.1); Corr. to J.
                                         Vitullo, L. Potter, I. Eppler and R. Clearly re:
                                         recommendation for next steps (.1).



TOTAL                            18.80




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                          PROJECT 000006 – NON-WORKING TRAVEL

Date       Name                  Hours   Description

08/06/24   Daniel A. Lowenthal   0.60    Travel from S&C attorney interviews to PBWT office.

08/06/24   David Erroll          0.50    Travel to S&C attorney interviews.

08/06/24   David Erroll          0.50    Travel from S&C attorney interviews.

08/06/24   Kimberly Black        1.00    Travel to S&C for interview (.5); travel from S&C for
                                         interviews (.5).

08/06/24   Robert J. Cleary      0.80    Travel from interviews at S&C to PBWT.

08/06/24   Robert J. Cleary      1.50    Travel to S&C for witness interviews.



TOTAL                            4.90




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                    PROJECT 000007 – GENERAL CASE ADMINISTRATION

Date       Name                  Hours   Description

08/01/24   Daniel A. Lowenthal   0.10    Email J. McMahon (UST) re: extension of deadline to file
                                         report.

08/01/24   Daniel A. Lowenthal   0.30    Email S. Ehrenberg (S&C) and S. Wheeler (S&C) to
                                         request a call (.1); telephone call with S. Ehrenberg (S&C)
                                         re: planned request for extension of report deadline (.2).

08/01/24   Daniel A. Lowenthal   0.20    Emails to R. Cleary and K. Black re: update efforts to
                                         extend due date of the report.

08/01/24   Daniel A. Lowenthal   0.10    Telephone call with K. Pasquale (PH) re: due date for
                                         report.

08/01/24   Jason Vitullo         0.30    Emails to R. Cleary and L. Potter re: witness interview
                                         logistics.

08/01/24   Ianna Correa          0.50    Updated internal J Drive records based off public docket.
           Ramdhany

08/01/24   Kimberly Black        0.70    Reviewing comments from D. Lowenthal on draft motion
                                         to amend report deadline (.3); revising the same (.4).

08/02/24   Daniel A. Lowenthal   0.50    Draft email to R. Cleary, L. Potter, J. Vitullo, G. Baker, and
                                         K. Black re: status of the UST’s, the Debtors’, and the
                                         UCC’s response and counteroffer to our request to extend
                                         the due date for the report and with related analysis of the
                                         options.

08/02/24   Daniel A. Lowenthal   0.20    Review update on status of claims in bankruptcy vs. MDL
                                         and send to colleagues.

08/02/24   Daniel A. Lowenthal   0.50    Telephone calls with S. Ehrenberg (S&C) re: request to
                                         extend the due date of the report (.2); emails with S.
                                         Ehrenberg (S&C) re: agreement on new due date for report
                                         (.3).

08/02/24   Daniel A. Lowenthal   0.30    Email R. Cleary and K. Black re: extension request (.1);
                                         follow-up emails from and to R. Cleary re: same (.1); email
                                         to R. Cleary and K. Black re: next steps (.1).

08/02/24   Daniel A. Lowenthal   0.10    Additional email to R. Cleary re: agreement with the
                                         Debtors and the UCC on the motion to extend the due date.



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                   PROJECT 000007 – GENERAL CASE ADMINISTRATION

Date       Name                  Hours   Description

08/02/24   Daniel A. Lowenthal   0.10    Emails with M. DeBaecke (AG) re: motion to extend and
                                         hearing dates.

08/02/24   Daniel A. Lowenthal   0.20    Email J. McMahon (UST) with update on request of
                                         Debtors and UCC to extend the due date.

08/02/24   Kimberly Black        1.10    Drafting Motion to Shorten notice.

08/02/24   Kimberly Black        0.70    Revising draft motion to amend the scope order (.4);
                                         related corr. w/ M. DeBaecke (AG) (.2); related corr. to R.
                                         Cleary (.1).

08/04/24   Kimberly Black        0.30    Revising draft Motion to Shorten notice on motion to
                                         amend.

08/05/24   Daniel A. Lowenthal   0.10    Email from L. Potter re: protocol for witness attribution in
                                         the Phase II Report.

08/05/24   Daniel A. Lowenthal   0.30    Emails with S. Ehrenberg (S&C), S. Rand (QE), K.
                                         Pasquale (PH), and J. McMahon (UST) re: Motion to
                                         Shorten objection deadline.

08/05/24   Daniel A. Lowenthal   0.80    Revise Motion to Shorten notice.

08/05/24   Daniel A. Lowenthal   0.20    Emails with M. DeBaecke (AG) re: Motion to Shorten and
                                         objection deadline.

08/05/24   Ianna Correa          1.40    Updated internal J-drive records from public docket.
           Ramdhany

08/05/24   Kimberly Black        0.30    Corr. with M. DeBaecke (AG) re: proposed objection date
                                         for the Motion to Shorten; related corr. to D. Lowenthal.

08/05/24   Kimberly Black        0.50    Revising draft motion to amend based on comments from
                                         D. Lowenthal (.2); revising draft Motion to Shorten based
                                         on comments from D. Lowenthal (.3).

08/05/24   Kimberly Black        0.50    Revising draft motion to amend based on comments from
                                         Ashby & Geddes (.3); revising draft Motion to Shorten
                                         notice based on comments from Ashby & Geddes (.2).

08/05/24   Kimberly Black        0.30    Reviewing D. Lowenthal comments to Motion to Shorten;
                                         circulating the same to M. DeBaecke (AG).


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                    PROJECT 000007 – GENERAL CASE ADMINISTRATION

Date       Name                  Hours   Description

08/06/24   Daniel A. Lowenthal   0.10    Review draft notice of motion to amend due date for
                                         report.

08/06/24   Daniel A. Lowenthal   0.10    Review as-signed order on Motion to Shorten.

08/07/24   Daniel A. Lowenthal   0.60    Prepare for team meeting.

08/07/24   Daniel A. Lowenthal   0.50    Participate in meeting with R. Cleary, J. Vitullo, I. Eppler,
                                         K. Black, D. Erroll, J. Dikkers, L. Doxey, and M. Garcia
                                         re: status of investigations and timeline for drafting report.

08/07/24   Jason Vitullo         0.50    Participate in meeting with R. Cleary, D. Lowenthal, I.
                                         Eppler, K. Black, D. Erroll, J. Dikkers, L. Doxey, and M.
                                         Garcia re: status of investigations and timeline for drafting
                                         report.

08/07/24   Ian Eppler            0.50    Participate in meeting with R. Cleary, D. Lowenthal, J.
                                         Vitullo, K. Black, D. Erroll, J. Dikkers, L. Doxey, and M.
                                         Garcia re: status of investigations and timeline for drafting
                                         report.

08/07/24   David Erroll          0.50    Participate in meeting with R. Cleary, D. Lowenthal, J.
                                         Vitullo, I. Eppler, K. Black, J. Dikkers, L. Doxey, and M.
                                         Garcia re: status of investigations and timeline for drafting
                                         report.

08/07/24   Kimberly Black        0.50    Participate in meeting with R. Cleary, D. Lowenthal, J.
                                         Vitullo, I. Eppler, D. Erroll, J. Dikkers, L. Doxey, and M.
                                         Garcia re: status of investigations and timeline for drafting
                                         report.

08/07/24   Lauren Doxey          0.50    Participate in meeting with R. Cleary, D. Lowenthal, J.
                                         Vitullo, I. Eppler, K. Black, D. Erroll, J. Dikkers, and M.
                                         Garcia re: status of investigations and timeline for drafting
                                         report.

08/07/24   Maritza Garcia        0.50    Participate in meeting with R. Cleary, D. Lowenthal, J.
                                         Vitullo, I. Eppler, K. Black, D. Erroll, J. Dikkers, and L.
                                         Doxey re: status of investigations and timeline for drafting
                                         report.

08/07/24   Maritza Garcia        0.30    Organize interview summaries for L. Doxey.



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                   PROJECT 000007 – GENERAL CASE ADMINISTRATION

Date       Name                  Hours   Description

08/07/24   Johanna-Sophie        0.50    Participate in meeting with R. Cleary, D. Lowenthal, J.
           Dikkers                       Vitullo, I. Eppler, K. Black, D. Erroll, L. Doxey, and M.
                                         Garcia re: status of investigations and timeline for drafting
                                         report.

08/08/24   Daniel A. Lowenthal   0.50    Emails to K. Black and R. Cleary and M. DeBaecke (AG)
                                         re: MDL customer’s plans with respect to their objection to
                                         professional fees and next steps.

08/08/24   Roman Kosman-         0.60    Analyze FTX Time-Line Binance BlockFi documents (.2);
           Rimskiy                       prepare documents for review, as requested by D. Erroll
                                         (.4).

08/09/24   Daniel A. Lowenthal   0.20    Conference with R. Cleary and K. Black re: consideration
                                         of additional witnesses for the Phase II work streams.

08/09/24   Daniel A. Lowenthal   0.50    Multiple emails to and from R. Cleary, K. Black, M.
                                         DeBaecke (AG), A. Moskowitz (Moskowitz Law Firm),
                                         and J. Rosell (Pachulski) re: MDL customer’s withdrawal
                                         of objection to fee application.

08/09/24   Daniel A. Lowenthal   0.70    Review MDL customer’s draft filing.

08/09/24   Kimberly Black        0.40    Conference with R. Cleary and D. Lowenthal re:
                                         consideration of additional witnesses for the Phase II work
                                         streams.

08/14/24   Daniel A. Lowenthal   0.90    Meeting with K. Black re: general case updates, next steps
                                         on Robinhood and LedgerX investigations, and upcoming
                                         witness interviews.

08/14/24   Daniel A. Lowenthal   0.10    Prepare for team meeting.

08/14/24   Daniel A. Lowenthal   0.90    Participate in meeting with R. Cleary, L. Potter, J. Vitullo,
                                         I. Eppler, K. Black, D. Erroll, J. Dikkers, L. Doxey, and M.
                                         Garcia re: status of investigations and timeline for drafting
                                         report.

08/14/24   Daniel A. Lowenthal   0.20    Telephone with R. Cleary re: today's team meeting.




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                    PROJECT 000007 – GENERAL CASE ADMINISTRATION

Date       Name                  Hours   Description

08/14/24   Jason Vitullo         0.90    Participate in meeting with R. Cleary, D. Lowenthal, L.
                                         Potter, I. Eppler, K. Black, D. Erroll, J. Dikkers, L. Doxey,
                                         and M. Garcia re: status of investigations and timeline for
                                         drafting report.

08/14/24   Ian Eppler            0.90    Participate in meeting with R. Cleary, D. Lowenthal, L.
                                         Potter, J. Vitullo, K. Black, D. Erroll, J. Dikkers, L. Doxey,
                                         and M. Garcia re: status of investigations and timeline for
                                         drafting report.

08/14/24   Lauren S. Potter      0.90    Participate in meeting with R. Cleary, D. Lowenthal, J.
                                         Vitullo, I. Eppler, K. Black, D. Erroll, J. Dikkers, L. Doxey,
                                         and M. Garcia re: status of investigations and timeline for
                                         drafting report.

08/14/24   David Erroll          0.90    Participate in meeting with R. Cleary, D. Lowenthal, L.
                                         Potter, J. Vitullo, I. Eppler, K. Black, J. Dikkers, L. Doxey,
                                         and M. Garcia re: status of investigations and timeline for
                                         drafting report.

08/14/24   Kimberly Black        0.90    Meeting with D. Lowenthal re: general case updates, next
                                         steps on Robinhood and LedgerX investigations, upcoming
                                         witness interviews.

08/14/24   Kimberly Black        0.90    Participate in meeting with R. Cleary, D. Lowenthal, L.
                                         Potter, J. Vitullo, I. Eppler, D. Erroll, J. Dikkers, L. Doxey,
                                         and M. Garcia re: status of investigations and timeline for
                                         drafting report.

08/14/24   Lauren Doxey          0.90    Participate in meeting with R. Cleary, D. Lowenthal, L.
                                         Potter, J. Vitullo, I. Eppler, K. Black, D. Erroll, J. Dikkers,
                                         and M. Garcia re: status of investigations and timeline for
                                         drafting report.

08/14/24   Maritza Garcia        0.50    Gather relevant documents from the Kroll restructuring
                                         administration site for Examiner assignment.

08/14/24   Maritza Garcia        0.90    Participate in meeting with R. Cleary, D. Lowenthal, L.
                                         Potter, J. Vitullo, I. Eppler, K. Black, D. Erroll, J. Dikkers,
                                         and L. Doxey re: status of investigations and timeline for
                                         drafting report.




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                    PROJECT 000007 – GENERAL CASE ADMINISTRATION

Date       Name                  Hours   Description

08/14/24   Johanna-Sophie        0.90    Participate in meeting with R. Cleary, D. Lowenthal, L.
           Dikkers                       Potter, J. Vitullo, I. Eppler, K. Black, D. Erroll, L. Doxey,
                                         and M. Garcia re: status of investigations and timeline for
                                         drafting report.

08/14/24   Johanna-Sophie        0.40    Preparation for team meeting.
           Dikkers

08/15/24   Lauren S. Potter      0.20    Telephone call with R. Cleary re: case update.

08/16/24   Maritza Garcia        1.30    Assemble LedgerX documents cited in the draft Phase II
                                         Report.

08/21/24   Daniel A. Lowenthal   0.50    Participate in meeting with J. Vitullo, K. Black, I. Eppler,
                                         D. Erroll, J. Dikkers, and L. Doxey re: status of
                                         investigations and drafting report.

08/21/24   Daniel A. Lowenthal   0.10    Emails from and to R. Cleary re: team meeting.

08/21/24   Jason Vitullo         0.50    Participate in meeting with D. Lowenthal, K. Black, I.
                                         Eppler, D. Erroll, J. Dikkers and L. Doxey re: status of
                                         investigations and drafting report.

08/21/24   Ian Eppler            0.50    Participate in meeting with D. Lowenthal, J. Vitullo, K.
                                         Black, D. Erroll, J. Dikkers and L. Doxey re: status of
                                         investigations and drafting report.

08/21/24   David Erroll          0.50    Participate in meeting with D. Lowenthal, J. Vitullo, K.
                                         Black, I. Eppler, J. Dikkers and L. Doxey re: status of
                                         investigations and drafting report.

08/21/24   Kimberly Black        0.50    Participate in meeting with D. Lowenthal, J. Vitullo, I.
                                         Eppler, D. Erroll, J. Dikkers and L. Doxey re: status of
                                         investigations and drafting report.

08/21/24   Lauren Doxey          0.50    Participate in meeting with D. Lowenthal, J. Vitullo, K.
                                         Black, I. Eppler, D. Erroll, J. Dikkers re: status of
                                         investigations and drafting report.

08/21/24   Johanna-Sophie        0.50    Participate in meeting with D. Lowenthal, J. Vitullo, K.
           Dikkers                       Black, I. Eppler, D. Erroll, and L. Doxey re: status of
                                         investigations and drafting report.



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                    PROJECT 000007 – GENERAL CASE ADMINISTRATION

Date       Name                  Hours   Description

08/28/24   Daniel A. Lowenthal   0.70    Participate in Zoom meeting with R. Cleary, L. Potter, J.
                                         Vitullo, I. Eppler, K. Black, J. Dikkers, and M. Garcia re:
                                         status of investigations and timeline for drafting report.

08/28/24   Daniel A. Lowenthal   0.10    Prepare for team meeting.

08/28/24   Daniel A. Lowenthal   0.20    Emails to R. Cleary re: outstanding issues for team
                                         meeting.

08/28/24   Jason Vitullo         0.70    Participate in Zoom meeting with R. Cleary, D. Lowenthal,
                                         L. Potter, I. Eppler, K. Black, J. Dikkers, and M. Garcia re:
                                         status of investigations and timeline for drafting report.

08/28/24   Ian Eppler            0.70    Participate in Zoom meeting with R. Cleary, D. Lowenthal,
                                         L. Potter, J. Vitullo, K. Black, J. Dikkers, and M. Garcia re:
                                         status of investigations and timeline for drafting report.

08/28/24   Lauren S. Potter      0.70    Participate in Zoom meeting with R. Cleary, D. Lowenthal,
                                         J. Vitullo, I. Eppler, K. Black, J. Dikkers, and M. Garcia re:
                                         status of investigations and timeline for drafting report.

08/28/24   Kimberly Black        0.70    Participate in Zoom meeting with R. Cleary, D. Lowenthal,
                                         L. Potter, J. Vitullo, I. Eppler, J. Dikkers, and M. Garcia re:
                                         status of investigations and timeline for drafting report.

08/28/24   Kimberly Black        0.10    Corr. to D. Lowenthal and M. DeBaecke (AG) re: timing of
                                         special hearing.

08/28/24   Maritza Garcia        0.70    Participate in Zoom meeting with R. Cleary, D. Lowenthal,
                                         L. Potter, J. Vitullo, I. Eppler, K. Black, and J. Dikkers re:
                                         status of investigations and timeline for drafting report.

08/28/24   Johanna-Sophie        0.70    Participate in Zoom meeting with R. Cleary, D. Lowenthal,
           Dikkers                       L. Potter, J. Vitullo, I. Eppler, K. Black, and M. Garcia re:
                                         status of investigations and timeline for drafting report.

08/30/24   Kimberly Black        0.30    Reviewing reservation of rights filed by SEC in response to
                                         the plan; related corr. to D. Lowenthal.



TOTAL                            40.40



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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/01/24   Daniel A. Lowenthal   1.30    Prepare for witness interviews.

08/01/24   Jason Vitullo         3.30    Review FTX repository documents of interest re: FTX.US
                                         (3.0); confer with L. Potter, L. Doxey and I. Eppler re:
                                         same (0.3).

08/01/24   Ian Eppler            0.80    Analyze documents related to FTX.US investigation.

08/01/24   Lauren S. Potter      0.50    Analyze attorney client privilege and work product
                                         doctrines; confer with R. Cleary and J. Vitullo re: the same.

08/01/24   Lauren S. Potter      0.30    Emails re: FTX.US interview strategy.

08/01/24   Lauren S. Potter      0.80    Prepare for interview of former FTX executive.

08/01/24   David Erroll          2.50    Review documents re: preparation for interview of former
                                         FTX employee.

08/01/24   David Erroll          1.60    Implement edits to outline for interview of S&C attorney.

08/01/24   David Erroll          2.40    Review documents re: preparation for interview with S&C
                                         attorney

08/01/24   David Erroll          0.80    Implement edits to outline for interview of S&C attorney

08/01/24   David Erroll          1.90    Review documents re: preparation for interview with S&C
                                         attorney.

08/01/24   Kimberly Black        1.50    Commenting on draft Safe Harbor memo.

08/01/24   Lauren Doxey          0.20    Emails to L. Potter, J. Vitullo, and I. Eppler re: documents
                                         of interest.

08/01/24   Johanna-Sophie        3.30    Legal research on work product doctrine.
           Dikkers

08/02/24   Daniel A. Lowenthal   0.40    Prepare for witness interviews.

08/02/24   Jason Vitullo         3.00    Review documents re: FTX.US and prepare for upcoming
                                         witness interviews.




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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/02/24   Ian Eppler            0.60    Review correspondence from L. Potter, J. Vitullo, G.
                                         Baker, L. Doxey, and D. Erroll re: FTX.US investigation
                                         issues.

08/02/24   Ian Eppler            0.70    Edit outline for interview of FTX executive.

08/02/24   Lauren S. Potter      3.40    Prepare for interview of former FTX executive.

08/02/24   David Erroll          0.60    Draft outlines for interviews of S&C attorneys.

08/02/24   David Erroll          2.20    Review documents re: identities of Signal messaging
                                         individuals.

08/02/24   David Erroll          1.10    Review documents re: preparation for interview of S&C
                                         attorneys.

08/02/24   Kimberly Black        1.00    Commenting on Safe Harbor analysis memo.

08/02/24   Kimberly Black        0.70    Commenting on draft interview outlines for S&C
                                         interviews.

08/02/24   Lauren Doxey          0.40    Prepare document binders for upcoming interviews with
                                         FTX.US executives.

08/02/24   Lauren Doxey          0.10    Email correspondence to L. Potter re: documents for
                                         upcoming interviews with former FTX.US executives.

08/02/24   Johanna-Sophie        0.20    Review of article on MDL litigation.
           Dikkers

08/02/24   Johanna-Sophie        1.60    Drafting memo on Section 546(e).
           Dikkers

08/04/24   David Erroll          0.20    Coordinate preparation of documents for interviews of
                                         S&C attorneys.

08/04/24   David Erroll          0.30    Email to D. Lowenthal re: documents for interviews of
                                         S&C attorneys.

08/04/24   Kimberly Black        0.20    Corr. to D. Lowenthal re: prep for interview of former FTX
                                         executive.




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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/05/24   Daniel A. Lowenthal   0.20    Prepare for meeting with K. Black and D. Erroll re: witness
                                         interview preparation.

08/05/24   Daniel A. Lowenthal   1.90    Prepare for witness interviews.

08/05/24   Daniel A. Lowenthal   0.50    Telephone call with D. Erroll and K. Black re: prep for
                                         S&C interviews on Robinhood.

08/05/24   Jason Vitullo         0.20    Prepare for call with J. Gottlieb (Morrison Cohen), counsel
                                         of potential witness.

08/05/24   Jason Vitullo         1.30    Coordinate with L. Doxey, L. Potter and I. Eppler re:
                                         upcoming witness interviews and preparation for same.

08/05/24   Ian Eppler            1.10    Analyze documents related to FTX.US investigation.

08/05/24   Lauren S. Potter      0.10    Prepare for interview of former FTX employee.

08/05/24   Lauren S. Potter      0.30    Review emails regarding FTX.US investigation work.

08/05/24   David Erroll          2.40    Research on reporting of government witnesses in S.
                                         Bankman-Fried trial in preparation for interviews.

08/05/24   David Erroll          3.20    Review of trial transcript for all testifying witnesses in
                                         preparation to review trial testimony prior to interviews.

08/05/24   David Erroll          0.50    Call with D. Lowenthal and K. Black re: prep for S&C
                                         interviews on Robinhood.

08/05/24   David Erroll          3.80    Review documents re: identification of participants in
                                         Signal messaging conversations in preparation for
                                         interviews.

08/05/24   Kimberly Black        0.50    Reviewing LedgerX document tracker in advance of
                                         former employee interview (.3); corr. To D. Lowenthal and
                                         J. Dikkers re: the same (.1); corr. to I. Eppler re: the same
                                         (.1).

08/05/24   Kimberly Black        0.50    Call with D. Lowenthal and D. Erroll re: prep for S&C
                                         interviews on Robinhood.

08/05/24   Lauren Doxey          0.70    Review outline for upcoming interview with former FTX
                                         Group executive.


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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/05/24   Lauren Doxey          0.10    Emails to I. Eppler and J. Vitullo re: potential interview
                                         with former FTX.US executive.

08/05/24   Lauren Doxey          0.10    Emails to L. Potter re: documents for use in upcoming
                                         interview with former FTX.US employee.

08/05/24   Johanna-Sophie        3.20    Drafting Section 546(e) rider.
           Dikkers

08/05/24   Johanna-Sophie        0.40    Review of former FTX.US documents for potential
           Dikkers                       interview questions.

08/06/24   Daniel A. Lowenthal   1.00    Prepare for S&C witness interviews.

08/06/24   Daniel A. Lowenthal   0.40    Follow-up analysis from witness interviews.

08/06/24   Jason Vitullo         0.80    Participate in meeting with L. Potter, I. Eppler, D. Erroll,
                                         and L. Doxey re: status of FTX US investigation,
                                         upcoming witness interviews.

08/06/24   Jason Vitullo         1.00    Review documents in preparation for upcoming witness
                                         interviews.

08/06/24   Jason Vitullo         0.30    Calls to two FTX.US executives with I. Eppler.

08/06/24   Jason Vitullo         0.20    Call with L. Potter re: upcoming witness interviews.

08/06/24   Ian Eppler            0.30    Calls to two FTX.US executives with J. Vitullo.

08/06/24   Ian Eppler            0.20    Correspondence with J. Vitullo, L. Potter, L. Doxey team
                                         re: outreach calls to former FTX.US executives.

08/06/24   Ian Eppler            0.80    Participate in meeting with L. Potter, J. Vitullo, D. Erroll,
                                         and L. Doxey re: status of FTX US investigation,
                                         upcoming witness interviews.

08/06/24   Lauren S. Potter      0.80    Participate in meeting with J. Vitullo, I. Eppler, D. Erroll,
                                         and L. Doxey re: status of FTX.US investigation,
                                         upcoming witness interviews.

08/06/24   Lauren S. Potter      1.50    Prepare for interview of former FTX employee.

08/06/24   Lauren S. Potter      0.20    Call with J. Vitullo re: upcoming witness interviews.


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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/06/24   David Erroll          0.80    Review documents re: search results of telephone numbers
                                         involved in Signal messaging.

08/06/24   David Erroll          0.80    Participate in meeting with L. Potter, J. Vitullo, and I.
                                         Eppler re: status of FTX US investigation, upcoming
                                         witness interviews.

08/06/24   David Erroll          0.60    Preparation for witness interviews of S&C attorneys.

08/06/24   David Erroll          2.20    Review documents re: interviews of S&C attorneys.

08/06/24   Kimberly Black        0.10    Corr. to J. Dikkers re: status of 548 research.

08/06/24   Kimberly Black        1.00    Analysis of Hyde Park decision.

08/06/24   Kimberly Black        1.00    Preparing for interview of former FTX employee.

08/06/24   Lauren Doxey          5.20    Analyze documents in preparation for upcoming interview
                                         with former FTX.US employee.

08/06/24   Lauren Doxey          0.80    Participate in meeting with L. Potter, J. Vitullo, I. Eppler,
                                         and D. Erroll re: status of FTX.US investigation, upcoming
                                         witness interviews.

08/06/24   Lauren Doxey          0.70    Review materials in preparation for upcoming interview
                                         with former FTX Group executive.

08/06/24   Johanna-Sophie        3.10    Drafting memo on Section 546(e).
           Dikkers

08/07/24   Daniel A. Lowenthal   0.40    Follow-up from team meeting re: analysis of Robinhood.

08/07/24   Daniel A. Lowenthal   0.40    Review decision on valuation.

08/07/24   Jason Vitullo         0.90    Follow-up with I. Eppler, L. Doxey and L. Potter re:
                                         FTX.US executive interview.

08/07/24   Jason Vitullo         1.10    Review documents from S&C collection to prepare for
                                         upcoming interviews of former FTX executives.

08/07/24   Jason Vitullo         0.80    Call with L. Potter re: FTX.US executive interview and
                                         follow-up re: same, including additional documents to
                                         discuss.


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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/07/24   Ian Eppler            0.30    Review transcript of recent interview with former FTX.US
                                         executive.

08/07/24   Ian Eppler            0.30    Finalize document set for FTX.US executive interview.

08/07/24   Lauren S. Potter      0.40    Review emails regarding FTX.US investigation work.

08/07/24   Lauren S. Potter      1.50    Prepare for interview of former FTX employee.

08/07/24   Lauren S. Potter      0.80    Call with J. Vitullo regarding FTX.US executive interview
                                         and follow-up from the same including additional
                                         documents to discuss.

08/07/24   Lauren S. Potter      0.10    Call with L. Doxey re: interview with FTX Group
                                         executive.

08/07/24   David Erroll          0.70    Review documents re: identities of chat participants in
                                         preparation for interviews.

08/07/24   David Erroll          3.80    Review documents re: discovery of missing client account
                                         funds in preparation for interviews.

08/07/24   Kimberly Black        0.30    Prepare for upcoming witness interview of former FTX
                                         employee.

08/07/24   Lauren Doxey          0.60    Finalize documents to share with former FTX.US
                                         employee in preparation for upcoming interview.

08/07/24   Lauren Doxey          0.10    Call with L. Potter re: interview with FTX Group
                                         executive.

08/07/24   Lauren Doxey          1.50    Draft interview outline to prepare for upcoming interview
                                         with former FTX Group executive.

08/07/24   Johanna-Sophie        1.10    Drafting memo on Section 546(e).
           Dikkers

08/08/24   Daniel A. Lowenthal   1.10    Prepare for third-party witness interview.

08/08/24   Daniel A. Lowenthal   0.20    Telephone call with K. Black re: follow-up to interview
                                         with former FTX Group executive.




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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/08/24   Jason Vitullo         2.00    Review documents and outlines for upcoming witness
                                         interviews (1.0); coordinate with L. Potter, L. Doxey and I.
                                         Eppler re: follow-up work and preparation for upcoming
                                         witness interviews of former FTX executives (1.0).

08/08/24   Jason Vitullo         0.20    Review CFTC consent order re: FTX.

08/08/24   Ian Eppler            0.90    Review documents in preparation for interview of former
                                         FTX executive.

08/08/24   Ian Eppler            1.50    Prepare outline for interview of former FTX executive.

08/08/24   Lauren S. Potter      0.30    Prepare for interview of former FTX employee.

08/08/24   Lauren S. Potter      0.30    Review documents in preparation for interview of former
                                         FTX employee.

08/08/24   Lauren S. Potter      0.20    Emails to L. Doxey, I. Eppler and J. Vitullo re: interviews
                                         with former FTX employees.

08/08/24   David Erroll          0.30    Review documents re: unsolicited outreach
                                         communications to Examiner.

08/08/24   David Erroll          3.70    Review documents in preparation for interview of former
                                         FTX executive.

08/08/24   Kimberly Black        0.10    Call with J. Dikkers re: FTX.US executive interview.

08/08/24   Kimberly Black        0.20    Telephone call with D. Lowenthal re: follow-up to
                                         interview with former FTX Group executive.

08/08/24   Kimberly Black        0.30    Revising outline for witness interview based on comments
                                         from D. Lowenthal.

08/08/24   Kimberly Black        1.00    Drafting interview outline for former FTX employee.

08/08/24   Kimberly Black        0.30    Editing draft interview outline based on comments from J.
                                         Dikkers.

08/08/24   Lauren Doxey          0.40    Finalize documents for use during upcoming interview
                                         with former FTX.US employee.




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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/08/24   Lauren Doxey          0.20    Email correspondence to J. Vitullo re: documents for
                                         upcoming interview with former FTX.US employee.

08/08/24   Lauren Doxey          0.20    Email correspondence to J. Vitullo and I. Eppler re:
                                         drafting outlines for upcoming interviews with former FTX
                                         Group executives.

08/08/24   Lauren Doxey          3.60    Draft outline for upcoming witness interview.

08/08/24   Johanna-Sophie        0.40    Review of questions for former FTX executive interview.
           Dikkers

08/08/24   Johanna-Sophie        0.10    Call with K. Black re: former FTX.US executive interview.
           Dikkers

08/09/24   Daniel A. Lowenthal   0.40    Prepare for interview of third-party witness.

08/09/24   Jason Vitullo         1.30    Review draft outlines for upcoming interviews (0.8);
                                         review related document sets from I. Eppler and L. Doxey
                                         (0.4); finalize and send documents to R. Capone (Cooley),
                                         counsel for witness (0.1).

08/09/24   Jason Vitullo         2.20    Review additional documents from FTX database in
                                         preparation for upcoming interviews (1.8); circulate to I.
                                         Eppler, L. Doxey and L. Potter with comments (0.2);
                                         confer with I. Eppler, L. Doxey and L. Potter re: same
                                         (0.2).

08/09/24   Ian Eppler            2.20    Prepare outlines for interviews of former FTX executives.

08/09/24   Ian Eppler            1.40    Continue reviewing documents in preparation for witness
                                         interviews re: FTX.US.

08/09/24   Lauren S. Potter      1.40    Review emails regarding FTX.US investigation work.

08/09/24   Lauren S. Potter      0.90    Prepare for interview of former FTX.US executive.

08/09/24   David Erroll          5.70    Review documents in preparation for interview of former
                                         FTX employee.

08/09/24   David Erroll          2.20    Draft updates to outline in preparation for interview of
                                         former FTX employee.



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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/09/24   Kimberly Black        0.30    Analysis of LedgerX email; related corr. to J. Vitullo.

08/09/24   Kimberly Black        0.70    Analysis of CFTC settlement order.

08/09/24   Lauren Doxey          0.10    Email correspondence to J. Vitullo and L. Potter re:
                                         documents for use in upcoming interview with former FTX
                                         Group executive.

08/09/24   Lauren Doxey          0.70    Search for documents in response to J. Vitullo inquiry.

08/09/24   Lauren Doxey          2.10    Draft summary of interview of former FTX Group
                                         executive.

08/10/24   Lauren S. Potter      1.20    Prepare for interview of former FTX.US executive.

08/11/24   Lauren Doxey          0.10    Emails with L. Potter re: documents related to former FTX
                                         Group executive.

08/12/24   Daniel A. Lowenthal   0.40    Telephone call with K. Black and D. Erroll re: additional
                                         witnesses for Robinhood investigation.

08/12/24   Daniel A. Lowenthal   0.60    Analyze Robinhood issues.

08/12/24   Daniel A. Lowenthal   0.50    Prepare for third-party witness interview.

08/12/24   Jason Vitullo         4.50    Prepare for interviews of former FTX executives including
                                         review of documents identified by team, review of
                                         testimony from S. Bankman-Fried trial, and draft witness
                                         outlines.

08/12/24   Jason Vitullo         0.20    Coordinate with L. Doxey, I. Eppler and L. Potter re:
                                         scheduling additional witness interviews.

08/12/24   Ian Eppler            2.50    Continue preparing outlines for interviews of former FTX
                                         executives.

08/12/24   Ian Eppler            0.30    Correspondence with J. Gottlieb (Morrison Cohen),
                                         counsel for witnesses re: interview scheduling.

08/12/24   Lauren S. Potter      4.10    Prepare for interviews of former FTX executives.

08/12/24   David Erroll          0.70    Review unsolicited contact email re: timing of email
                                         communications.


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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/12/24   David Erroll          3.80    Call with D. Lowenthal and K. Black re: additional
                                         witnesses for Robinhood investigation (.4); review
                                         documents re: additional witnesses for Robinhood
                                         investigation (3.4).

08/12/24   David Erroll          1.40    Review documents in preparation for interview with
                                         former FTX Group executive.

08/12/24   David Erroll          2.40    Draft outline for interview of former FTX manager.

08/12/24   Kimberly Black        0.50    Research re: Boston Generating case (.4); related corr. to J.
                                         Dikkers (.1).

08/12/24   Kimberly Black        0.20    Corr. to D. Lowenthal and J. Dikkers re: research related to
                                         Section 546(e).

08/12/24   Kimberly Black        0.40    Call with D. Lowenthal and D. Erroll re: additional
                                         witnesses for Robinhood investigation.

08/12/24   Lauren Doxey          1.40    Revise interview outline in preparation for upcoming
                                         interview with former FTX Group executive.

08/12/24   Lauren Doxey          0.90    Prepare Bates stamped documents for upcoming interview
                                         with former FTX Group executive.

08/12/24   Lauren Doxey          0.10    Review emails from D. Erroll re: upcoming interview with
                                         former FTX.US employee.

08/13/24   Daniel A. Lowenthal   0.20    Prepare for third-party witness interview.

08/13/24   Jason Vitullo         0.60    Prepare for upcoming August 14 interview of former
                                         FTX.US employee.

08/13/24   Jason Vitullo         2.60    Prepare for August 13 interview with former FTX
                                         executive.

08/13/24   Jason Vitullo         0.30    Follow-up with L. Potter re: witness interviews and next
                                         steps for FTX.US investigation.

08/13/24   Jason Vitullo         0.20    Follow-up discussion with L. Potter and I. Eppler re:
                                         interview of former FTX executive.




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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/13/24   Ian Eppler            0.20    Follow-up discussion with L. Potter and J. Vitullo re:
                                         interview of former FTX executive.

08/13/24   Ian Eppler            0.50    Prepare for interview of former FTX executive.

08/13/24   Lauren S. Potter      0.30    Follow-up with J. Vitullo re: witness interviews and next
                                         steps for FTX.US investigation.

08/13/24   Lauren S. Potter      1.30    Prepare for interview of former FTX executive.

08/13/24   Lauren S. Potter      0.20    Follow-up discussion with J. Vitullo and I. Eppler re:
                                         interview of former FTX executive.

08/13/24   Lauren S. Potter      0.10    Call with L. Doxey re: interview with FTX Group
                                         executive.

08/13/24   Lauren S. Potter      0.20    Telephone call with R. Cleary re: follow-up to witness
                                         interview and letter re: witness.

08/13/24   David Erroll          2.20    Review documents in preparation for interview of former
                                         FTX senior manager.

08/13/24   David Erroll          1.70    Revise outline for interview of former FTX senior
                                         manager.

08/13/24   Lauren Doxey          0.40    Review signal chats from FTX Group executive prior to
                                         interview.

08/13/24   Lauren Doxey          0.10    Call with L. Potter re: interview with FTX Group
                                         executive.

08/13/24   Johanna-Sophie        0.80    Drafting Section 546(e) rider.
           Dikkers

08/13/24   Johanna-Sophie        0.20    Prep for meeting with third party witness.
           Dikkers

08/14/24   Jason Vitullo         0.20    Confer with R. Cleary and L. Potter re: scheduling and
                                         drafting of the Report.

08/14/24   Jason Vitullo         1.30    Meeting with L. Potter and I. Eppler re: progress of
                                         FTX.US investigation and next investigative steps.



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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/14/24   Jason Vitullo         3.30    Review documents of interest in order to prepare for
                                         upcoming interview of FTX.US executives.

08/14/24   Jason Vitullo         0.20    Discuss FTX.US investigation report and next steps with L.
                                         Potter.

08/14/24   Jason Vitullo         0.20    Call with L. Potter and L. Doxey re: interview follow-up
                                         and strategy.

08/14/24   Ian Eppler            1.30    Meeting with L. Potter and J. Vitullo re: progress of
                                         FTX.US investigation and next investigative steps.

08/14/24   Ian Eppler            0.20    Review interview memoranda re: prior investigation into
                                         FTX.US settlements.

08/14/24   Lauren S. Potter      0.20    Discuss FTX.US investigation report and next steps with J.
                                         Vitullo.

08/14/24   Lauren S. Potter      0.30    Participate in meeting with B. Cleary and J. Vitullo re FTX
                                         US.

08/14/24   Lauren S. Potter      0.20    Call with J. Vitullo and L. Doxey re: interview follow-up
                                         and strategy.

08/14/24   Lauren S. Potter      1.30    Meeting with J. Vitullo and I. Eppler re: progress of
                                         FTX.US investigation and next investigative steps.

08/14/24   Lauren S. Potter      0.90    Prepare for interview of former FTX executive.

08/14/24   Lauren S. Potter      0.30    Confer with R. Cleary and J. Vitullo re: scheduling and
                                         drafting of the Report.

08/14/24   David Erroll          4.40    Updates to outline for interview of former FTX senior
                                         manager.

08/14/24   David Erroll          2.20    Review S. Bankman-Fried trial transcripts re: account
                                         settlement and reconciliation processes.

08/14/24   Kimberly Black        0.40    Reviewing interview memo of former FTX employee.

08/14/24   Kimberly Black        0.30    Preparing for witness interview.




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Date       Name                  Hours   Description

08/14/24   Lauren Doxey          1.50    Review criminal trial testimony of former FTX Group
                                         executive.

08/14/24   Lauren Doxey          0.60    Research re: crypto staking and margin exchanges.

08/14/24   Lauren Doxey          0.50    Review and summarize interview notes from interview
                                         with former FTX Group executive.

08/14/24   Lauren Doxey          0.10    Email to L. Potter re: trial testimony, other evidence in
                                         criminal trials.

08/14/24   Lauren Doxey          0.20    Call with L. Potter and J. Vitullo re: interview of former
                                         FTX Group executive, areas of follow-up needed.

08/14/24   Johanna-Sophie        1.60    Drafting Section 546(e) rider.
           Dikkers

08/15/24   Jason Vitullo         3.60    Review materials collected by team and prior testimony
                                         from Bankman-Fried trial (1.5); revise outline (1.1);
                                         prepare for upcoming interviews of former FTX executives
                                         (1.0).

08/15/24   Jason Vitullo         0.20    Call with L. Potter re: strategy for follow-up interview of
                                         former FTX executive.

08/15/24   Jason Vitullo         1.50    Review additional Signal messages and other materials
                                         provided by S&C.

08/15/24   Ian Eppler            0.30    Emails to J. Vitullo and L. Potter re: next steps in FTX.US
                                         investigation.

08/15/24   Lauren S. Potter      5.80    Prepare for interviews of former FTX executives.

08/15/24   Lauren S. Potter      0.20    Call with J. Vitullo re: strategy for follow-up interview of
                                         former FTX executive.

08/15/24   David Erroll          6.70    Review S. Bankman-Fried trial transcripts and trial exhibits
                                         re: account settlement and reconciliation processes.

08/15/24   Kimberly Black        0.40    Reviewing Signal chats discussing LedgerX (.3); related
                                         corr. to D. Lowenthal and J. Dikkers (.1).

08/15/24   Kimberly Black        0.10    Corr. to L. Potter re: interview of former FTX employee.


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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/15/24   Kimberly Black        1.20    Preparing witness interview outline for former FTX
                                         employee.

08/15/24   Lauren Doxey          0.10    Email correspondence to J. Vitullo re: new Signal messages
                                         received from S&C.

08/15/24   Lauren Doxey          1.30    Summarize notes from interview of former FTX Group
                                         executive.

08/15/24   Johanna-Sophie        0.20    Review of background materials FTX - crypto article.
           Dikkers

08/15/24   Johanna-Sophie        0.20    Revising Section 546(e) rider.
           Dikkers

08/15/24   Johanna-Sophie        0.30    Review of FTX email communications regarding document
           Dikkers                       productions and further third-party witness interviews.

08/16/24   Daniel A. Lowenthal   2.50    Review LedgerX documents.

08/16/24   Jason Vitullo         0.20    Emails to L. Potter re: recent interviews and next steps.

08/16/24   Jason Vitullo         1.00    Participate in meeting with L. Potter, I. Eppler, and D.
                                         Erroll, and L. Doxey (partial) re: status of FTX.US
                                         investigation, upcoming interviews, and drafting report.

08/16/24   Ian Eppler            1.00    Participate in meeting with L. Potter, J. Vitullo, D. Erroll,
                                         and L. Doxey (partial) re: status of FTX.US investigation,
                                         upcoming interviews, and drafting report.

08/16/24   Lauren S. Potter      0.20    Prepare email for former FTX employee.

08/16/24   Lauren S. Potter      1.00    Participate in meeting with J. Vitullo, I. Eppler, D. Erroll,
                                         and L. Doxey (partial) re: status of FTX.US investigation,
                                         upcoming interviews, and drafting report.

08/16/24   Lauren S. Potter      2.30    Prepare for interviews of former FTX executives.

08/16/24   David Erroll          1.00    Participate in meeting with L. Potter, J. Vitullo, I. Eppler
                                         and L. Doxey (partial) re: status of FTX.US investigation,
                                         upcoming interviews, and drafting report.




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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/16/24   David Erroll          3.10    Review S. Bankman-Fried criminal trial transcript re:
                                         testimony related to Robinhood equity stake acquisition.

08/16/24   Kimberly Black        0.30    Reviewing C. Ellison trial testimony (.3); related corr. to D.
                                         Erroll and L. Potter (.1).

08/16/24   Kimberly Black        0.40    Corr. to M. Garcia re: binder of LedgerX documents;
                                         related corr. to D. Lowenthal; reviewing documents cited in
                                         LedgerX section of brief.

08/16/24   Lauren Doxey          0.90    Participate (partial) in meeting with L. Potter, J. Vitullo, I.
                                         Eppler, and D. Erroll re: status of FTX.US investigation,
                                         upcoming interviews, and drafting report.

08/17/24   Lauren Doxey          5.50    Draft outline for upcoming interview with former FTX.US
                                         employee.

08/19/24   Daniel A. Lowenthal   1.30    Analysis of LedgerX documents flagged by team.

08/19/24   Jason Vitullo         0.10    Coordinate with L. Doxey, L. Potter and I. Eppler re:
                                         additional witness interviews.

08/19/24   Jason Vitullo         1.60    Prepare for upcoming witness interview by reviewing
                                         documents, prior testimony, and outlines.

08/19/24   David Erroll          4.70    Review S. Bankman-Fried criminal trial testimony re:
                                         Robinhood transaction.

08/20/24   Daniel A. Lowenthal   0.80    Analysis of LedgerX documents flagged by team.

08/20/24   Jason Vitullo         0.30    Draft emails to I. Eppler, L. Doxey and L. Potter re: new
                                         materials from FTX provided for review.

08/20/24   Jason Vitullo         0.30    Follow-up with Eppler, L. Doxey and L. Potter re:
                                         interview of former FTX employee.

08/20/24   Jason Vitullo         2.50    Review key documents identified by I. Eppler and L.
                                         Doxey (1.5); prepare outline for interview of former FTX
                                         employee (1.0).

08/20/24   David Erroll          0.50    Review documents re: post-petition communications.




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Date       Name                  Hours   Description

08/20/24   David Erroll          2.40    Review S. Bankman-Fried criminal trial testimony re:
                                         Robinhood transaction.

08/20/24   Lauren Doxey          0.40    Draft email summary of interview with former FTX.US
                                         employee for J. Vitullo, L. Potter, I. Eppler, D. Erroll.

08/20/24   Lauren Doxey          0.10    Email correspondence to J. Vitullo re: additional
                                         documents received from S&C.

08/20/24   Lauren Doxey          0.10    Email correspondence to J. Vitullo re: upcoming interview
                                         of former FTX.US employee.

08/20/24   Johanna-Sophie        2.00    Conducting analysis of LedgerX transaction under
           Dikkers                       fraudulent conveyance laws.

08/21/24   Daniel A. Lowenthal   0.30    Telephone call with K. Black re: status of Robinhood and
                                         LedgerX investigations.

08/21/24   Jason Vitullo         0.80    Coordinate with Eppler, L. Doxey and L. Potter re:
                                         preparation for upcoming interviews of former FTX
                                         executives.

08/21/24   Jason Vitullo         0.50    Review proposed exhibits for upcoming interview of
                                         former FTX executive.

08/21/24   Ian Eppler            1.70    Prepare documents for interview of former FTX executive.

08/21/24   David Erroll          1.40    Review documents re: post-petition communications.

08/21/24   David Erroll          3.10    Review S. Bankman-Fried criminal trial testimony re:
                                         Robinhood transaction.

08/21/24   Kimberly Black        0.30    Call with D. Lowenthal re: status of Robinhood and
                                         LedgerX investigations.

08/21/24   Lauren Doxey          0.20    Review documents in advance of upcoming interview of
                                         former FTX Group executive.

08/22/24   Jason Vitullo         0.60    Attention to assessment of additional potential witnesses
                                         re: FTX.US matter.




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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/22/24   Jason Vitullo         1.10    Review documents identified by I. Eppler for upcoming
                                         interview of former FTX executive (0.9); provide
                                         comments re: same (0.2).

08/22/24   David Erroll          2.00    Review documents re: post-petition communications.

08/22/24   Kimberly Black        0.10    Corr. to L. Potter re: potential witness interview.

08/22/24   Kimberly Black        0.70    Reviewing LedgerX claim analysis prepared by J. Dikkers.

08/22/24   Kimberly Black        0.80    Reviewing analysis of trial testimony related to Robinhood.

08/22/24   Lauren Doxey          0.10    Review mail correspondence from J. Vitullo and I. Eppler
                                         re: upcoming interview with FTX Group executive.

08/22/24   Johanna-Sophie        2.80    Conducting analysis of LedgerX transaction under
           Dikkers                       fraudulent conveyance laws; emails to K. Black re: same.

08/22/24   Johanna-Sophie        0.30    Review of LedgerX signal communications.
           Dikkers

08/23/24   Daniel A. Lowenthal   0.90    Participate in meeting with K. Black, and J. Dikkers to
                                         discuss status of LedgerX section and next steps.

08/23/24   Jason Vitullo         0.20    Review and respond to summary from D. Erroll re: review
                                         of additional FTX documents collected from S&C.

08/23/24   Jason Vitullo         0.90    Emails to potential witnesses, I. Eppler, L. Doxey, L.
                                         Potter, and C. Michael (Steptoe, counsel to potential
                                         witness) re: potential interviews of additional former FTX
                                         employees.

08/23/24   Ian Eppler            0.60    Finalize materials for interview of senior FTX Group
                                         executive.

08/23/24   David Erroll          2.60    Review documents re: post-petition communications.

08/23/24   David Erroll          0.60    Draft summary of post-petition document production
                                         review.

08/23/24   Kimberly Black        0.90    Participate in meeting with D. Lowenthal and J. Dikkers to
                                         discuss status of LedgerX section and next steps.



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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/23/24   Kimberly Black        0.20    Corr. to D. Erroll re: interview outline for upcoming
                                         interview of former FTX employee.

08/23/24   Kimberly Black        0.30    Corr. to L. Potter re: scheduling witness interview and
                                         documents for the same.

08/23/24   Johanna-Sophie        0.90    Participate in meeting with D. Lowenthal, K. Black to
           Dikkers                       discuss status of LedgerX section and next steps.

08/24/24   Ian Eppler            0.80    Assemble documents for interview of former FTX.US
                                         executive.

08/24/24   Johanna-Sophie        2.00    Conducting analysis of LedgerX transaction under
           Dikkers                       fraudulent conveyance laws.

08/25/24   Jason Vitullo         2.20    Review prior testimony (1.1); reviewing other key
                                         documents (0.4); edit outline for upcoming interview of
                                         former FTX executive (0.7).

08/25/24   Ian Eppler            1.20    Prepare outline for interview of former FTX executive.

08/25/24   Lauren S. Potter      4.00    Review emails regarding status of interview preparation.

08/25/24   Johanna-Sophie        2.10    Conducting analysis of LedgerX transaction under
           Dikkers                       fraudulent conveyance laws.

08/26/24   Jason Vitullo         0.50    Review AlixPartners presentation re: financial analysis.

08/26/24   Jason Vitullo         0.60    Meeting with L. Potter and I. Eppler to follow-up on
                                         FTX.US financial analysis issues.

08/26/24   Jason Vitullo         0.50    Prepare for upcoming interviews and confer with L. Potter
                                         re: same.

08/26/24   Ian Eppler            1.00    Finalize documents for interview of former FTX.US
                                         executive.

08/26/24   Ian Eppler            0.60    Meeting with L. Potter and J. Vitullo to follow-up on
                                         FTX.US financial analysis issues.

08/26/24   Ian Eppler            0.20    Review analysis of FTX.US transactions circulated by
                                         S&C in advance of call.



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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/26/24   Lauren S. Potter      0.50    Prepare for upcoming interviews and confer with J. Vitullo
                                         re: same.

08/26/24   Lauren S. Potter      0.60    Meeting with J. Vitullo and I. Eppler to follow-up on
                                         FTX.US financial analysis issues.

08/26/24   Kimberly Black        0.20    Corr. to I. Eppler re: documents for upcoming witness
                                         interview.

08/26/24   Johanna-Sophie        4.00    Conducting analysis of LedgerX transaction under
           Dikkers                       fraudulent conveyance laws.

08/26/24   Johanna-Sophie        0.20    Review of email correspondence from anonymous source
           Dikkers                       to R. Cleary.

08/27/24   Daniel A. Lowenthal   0.50    Review outline and documents for third-party witness
                                         interview.

08/27/24   Daniel A. Lowenthal   0.50    Telephone call with K. Black re: status Robinhood
                                         analysis.

08/27/24   Jason Vitullo         0.40    Confer with R. Cleary, L. Potter, and I. Eppler re: interview
                                         of former FTX executive.

08/27/24   Jason Vitullo         3.10    Review prior testimony (1.3); review key documents
                                         flagged by L. Doxey and I. Eppler (1.3); finalize outline for
                                         interview of former FTX executive (0.5).

08/27/24   Ian Eppler            1.30    Draft outline for interview of former FTX.US executive.

08/27/24   Ian Eppler            0.30    Prepare for interview of former FTX executive.

08/27/24   Ian Eppler            0.40    Confer with R. Cleary, L. Potter, and J. Vitullo re:
                                         interview of former FTX executive.

08/27/24   Lauren S. Potter      0.30    Prepare letter regarding former FTX executive.

08/27/24   Lauren S. Potter      0.40    Confer with R. Cleary, J. Vitullo, and I. Eppler re:
                                         interview of former FTX executive.

08/27/24   Kimberly Black        0.50    Telephone call with D. Lowenthal re: status Robinhood
                                         analysis.



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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/28/24   Daniel A. Lowenthal   0.30    Telephone call with K. Black re: Rule 2004 Motion and
                                         other case updates.

08/28/24   Jason Vitullo         0.50    Confer with L. Potter, I. Eppler, and L. Doxey re:
                                         scheduling and logistics for upcoming interviews of former
                                         FTX executives.

08/28/24   Ian Eppler            0.30    Review and analyze updated FTX.US financial analysis.

08/28/24   Ian Eppler            0.20    Review and edit outline for interview of former FTX.US
                                         executive.

08/28/24   Ian Eppler            0.30    Correspondence to L. Potter, J. Vitullo, and L. Doxey re:
                                         interview preparation and potential interview targets for
                                         FTX.US investigation.

08/28/24   Lauren S. Potter      3.40    Prepare for interview of former FTX employee.

08/28/24   Kimberly Black        0.10    Corr. to L. Potter re: prep for witness interview.

08/28/24   Lauren Doxey          0.10    Email correspondence with J. Vitullo re: documents for
                                         upcoming interview with former FTX.US executive.

08/28/24   Johanna-Sophie        3.60    Conducting analysis of LedgerX transaction under
           Dikkers                       fraudulent conveyance laws.

08/29/24   Daniel A. Lowenthal   0.50    Prepare for third-party witness interview.

08/29/24   Daniel A. Lowenthal   0.20    Confer with R. Cleary, L. Potter, J. Vitullo, K. Black, and I.
                                         Eppler following interview of former FTX.US employee.

08/29/24   Jason Vitullo         0.30    Confer with L. Potter re: strategy and logistics for
                                         upcoming depositions of former FTX executives.

08/29/24   Jason Vitullo         0.20    Review materials from L. Doxey for upcoming interview
                                         of former FTX executive.

08/29/24   Jason Vitullo         0.10    Confer with L. Doxey re: strategy for upcoming deposition
                                         of former FTX executive.

08/29/24   Jason Vitullo         0.90    Meeting with L. Potter and I. Eppler re: updated FTX.US
                                         financial analysis.



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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours   Description

08/29/24   Jason Vitullo         0.20    Confer with R. Cleary, D. Lowenthal, L. Potter, K. Black,
                                         and I. Eppler following interview of former FTX.US
                                         employee.

08/29/24   Ian Eppler            0.20    Confer with R. Cleary, D. Lowenthal, L. Potter, J. Vitullo,
                                         and K. Black following interview of former FTX.US
                                         employee.

08/29/24   Ian Eppler            0.40    Prepare for interview of former FTX.US executive.

08/29/24   Ian Eppler            0.90    Meeting with L. Potter and J. Vitullo re: updated FTX.US
                                         financial analysis.

08/29/24   Lauren S. Potter      0.90    Meeting with J. Vitullo, and I. Eppler re: updated FTX.US
                                         financial analysis.

08/29/24   Lauren S. Potter      0.20    Review analysis provided by AlixPartners.

08/29/24   Lauren S. Potter      0.20    Confer with R. Cleary, D. Lowenthal, J. Vitullo, K. Black,
                                         and I. Eppler following interview of former FTX.US
                                         employee.

08/29/24   Kimberly Black        0.30    Preparing for interview of former FTX.US employee.

08/29/24   Kimberly Black        0.20    Confer with R. Cleary, D. Lowenthal, L. Potter, J. Vitullo,
                                         and I. Eppler following interview of former FTX.US
                                         employee.

08/29/24   Lauren Doxey          0.10    Confer with J. Vitullo re: upcoming interview with former
                                         FTX.US executive.

08/29/24   Lauren Doxey          4.00    Prepare documents for upcoming interview with former
                                         FTX.US executive.

08/29/24   Lauren Doxey          0.40    Respond to J. Vitullo email re: documents for upcoming
                                         interview with FTX.US executive.

08/29/24   Johanna-Sophie        3.50    Conducting analysis of LedgerX transaction under
           Dikkers                       fraudulent conveyance laws.

08/29/24   Johanna-Sophie        0.20    Review emails from I. Eppler, L. Potter and J. Vitullo with
           Dikkers                       updates regarding interviews.



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                   PROJECT 000008 – EXAMINER INVESTIGATION WORK

Date       Name                  Hours    Description

08/30/24   Jason Vitullo          0.20    Correspondence to L. Potter re: strategy and logistics for
                                          upcoming interview of former FTX executive.

08/30/24   Ian Eppler             1.20    Prepare documents for interview of former FTX executive.

08/30/24   Lauren Doxey           2.80    Draft interview outline for upcoming interview with former
                                          FTX.US executive.

08/30/24   Lauren Doxey           0.10    Email correspondence to J. Vitullo and I. Eppler re:
                                          interview with former FTX.US employee.

08/31/24   Jason Vitullo          0.60    Provide comments to I. Eppler re: documents and outline
                                          for upcoming interview of former FTX executive.



TOTAL                            336.90




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           PROJECT 000009 – COMMUNICATIONS WITH PARTIES IN INTEREST

Date       Name                  Hours   Description

08/01/24   Jason Vitullo         0.20    Emails to L. Potter, J. Vitullo, and L. Doxey re: protocols
                                         for upcoming witness interviews.

08/01/24   Ian Eppler            0.20    Correspondence with J. Gottlieb (Morrison Cohen),
                                         counsel for former FTX executive re: interview scheduling.

08/01/24   Lauren S. Potter      0.20    Call with S. Kamaraju (Pryor Cashman) regarding former
                                         FTX executive.

08/02/24   Lauren S. Potter      0.40    Exchange emails with M. Berger (Simpson Thacher) and
                                         N. Kutler (Covington), counsel for former FTX employees
                                         regarding scheduling and documents.

08/02/24   David Erroll          0.50    Call with S. Ehrenberg (S&C) and K. Black re: S&C
                                         participation in Robinhood transaction (.3); follow-up call
                                         with K. Black re: same (.2).

08/02/24   Kimberly Black        0.50    Call with D. Erroll and S. Ehrenberg (S&C) re: Robinhood
                                         documents (0.3); follow-up call with D. Erroll re: same
                                         (0.2).

08/05/24   Jason Vitullo         0.20    Call with I. Eppler and J. Gottlieb (Morrison Cohen) re:
                                         potential interview of former FTX executive.

08/05/24   Ian Eppler            0.20    Call with J. Vitullo and J. Gottlieb (Morrison Cohen) re:
                                         potential interview of former FTX executive.

08/05/24   Lauren S. Potter      0.50    Exchange emails and calls with N. Kutler (Covington),
                                         counsel for former FTX employees regarding interviews.

08/06/24   Daniel A. Lowenthal   2.30    Attend witness interviews of S&C attorneys with R.
                                         Cleary, D. Erroll and K. Black re: Robinhood.

08/06/24   Daniel A. Lowenthal   0.50    Emails with a third-party witness to request an additional
                                         interview.

08/06/24   Daniel A. Lowenthal   0.30    Review lengthy email from third-party witness.

08/06/24   Lauren S. Potter      0.10    Exchange emails with I. Graff (Fried Frank) and N. Werle
                                         (Wilmer Hale), counsel for former FTX employees
                                         regarding interviews.




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           PROJECT 000009 – COMMUNICATIONS WITH PARTIES IN INTEREST

Date       Name                  Hours   Description

08/06/24   Lauren S. Potter      0.30    Call with M. Berger (Simpson Thacher), counsel for former
                                         FTX employee regarding upcoming interview and related
                                         follow-up with team.

08/06/24   David Erroll          2.30    Attend witness interviews of S&C attorneys with R.
                                         Cleary, D. Lowenthal and K. Black re: Robinhood.

08/06/24   Kimberly Black        2.70    Attend witness interviews of S&C attorneys (2.3); follow-
                                         up from the same (.2); prep for the same (.2).

08/07/24   Daniel A. Lowenthal   0.10    Corr. with third-party witnesses re: request for interview.

08/07/24   Daniel A. Lowenthal   2.60    Interview former FTX Group executive with R. Cleary, L.
                                         Potter, J. Vitullo, K. Black, and L. Doxey.

08/07/24   Daniel A. Lowenthal   0.10    Email R. Cleary, L. Potter, J. Vitullo, and G. Baker re:
                                         inquiry from a potential third-party witness.

08/07/24   Daniel A. Lowenthal   0.10    Leave detailed message for A. Moskowitz (Moskowitz
                                         Law).

08/07/24   Jason Vitullo         2.60    Interview former FTX Group executive with R. Cleary, L.
                                         Potter, D. Lowenthal, K. Black, and L. Doxey.

08/07/24   Lauren S. Potter      2.60    Interview former FTX Group executive with R. Cleary, J.
                                         Vitullo, D. Lowenthal, K. Black, and L. Doxey.

08/07/24   Kimberly Black        2.60    Interview former FTX Group executive with R. Cleary, L.
                                         Potter, J. Vitullo, D. Lowenthal, and L. Doxey.

08/07/24   Lauren Doxey          2.60    Interview former FTX Group executive with R. Cleary, L.
                                         Potter, J. Vitullo, D. Lowenthal, and K. Black.

08/08/24   Daniel A. Lowenthal   0.20    Prepare for call with A. Moskowitz (Moskowitz Law).

08/08/24   Daniel A. Lowenthal   0.30    Telephone call with A. Moskowitz (Moskowitz Law) about
                                         status of work and their objection to payment of
                                         professional fees.

08/08/24   Daniel A. Lowenthal   1.20    Interview former FTX Group executive with R. Cleary, L.
                                         Potter, J. Vitullo, K. Black, L. Doxey, and J. Dikkers.




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           PROJECT 000009 – COMMUNICATIONS WITH PARTIES IN INTEREST

Date       Name                  Hours   Description

08/08/24   Jason Vitullo         1.20    Interview former FTX Group executive with R. Cleary, L.
                                         Potter, D. Lowenthal, K. Black, L. Doxey, and J. Dikkers.

08/08/24   Lauren S. Potter      1.20    Interview former FTX Group executive with R. Cleary, J.
                                         Vitullo, D. Lowenthal, K. Black, L. Doxey, and J. Dikkers.

08/08/24   Kimberly Black        1.40    Interview former FTX Group executive with R. Cleary, L.
                                         Potter, J. Vitullo, D. Lowenthal, L. Doxey, and J. Dikkers
                                         (1.2); follow-up call with D. Lowenthal re: the same (.2).

08/08/24   Lauren Doxey          1.20    Interview former FTX Group executive with R. Cleary, L.
                                         Potter, J. Vitullo, D. Lowenthal, K. Black, and J. Dikkers.

08/08/24   Johanna-Sophie        1.20    Interview former FTX Group executive with R. Cleary, L.
           Dikkers                       Potter, J. Vitullo, D. Lowenthal, K. Black, L. Doxey.

08/09/24   Daniel A. Lowenthal   0.70    Emails with third-party witness.

08/09/24   Jason Vitullo         0.90    Review S&C response re: document collection questions,
                                         confer with L. Doxey, I. Eppler and L. Potter re: same and
                                         response to S&C re: same.

08/09/24   Kimberly Black        0.20    Analysis of communication from party in interest; related
                                         corr. to D. Lowenthal.

08/12/24   Daniel A. Lowenthal   0.20    Email third-party witness.

08/12/24   Daniel A. Lowenthal   0.90    Interview former FTX employee with R. Cleary and K.
                                         Black re: LedgerX and Robinhood.

08/12/24   Kimberly Black        0.90    Interview former FTX employee with R. Cleary and D.
                                         Lowenthal re: LedgerX and Robinhood.

08/13/24   Daniel A. Lowenthal   1.40    Interview of former FTX Group executive with R. Cleary,
                                         L. Potter, J. Vitullo and L. Doxey (partial attendance).

08/13/24   Daniel A. Lowenthal   0.80    Interview of third-party witness with R. Cleary (partial),
                                         and J. Dikkers.

08/13/24   Daniel A. Lowenthal   0.90    Participate (partial) in interview of former FTX executive
                                         with R. Cleary (partial), L. Potter, J. Vitullo, and I. Eppler.




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           PROJECT 000009 – COMMUNICATIONS WITH PARTIES IN INTEREST

Date       Name                  Hours   Description

08/13/24   Jason Vitullo         1.50    Interview former FTX Group executive with R. Cleary, L.
                                         Potter, D. Lowenthal (partial), and L. Doxey.

08/13/24   Jason Vitullo         1.80    Participate in interview of former FTX executive with R.
                                         Cleary (partial), D. Lowenthal (partial), L. Potter, and I.
                                         Eppler.

08/13/24   Ian Eppler            1.80    Participate in interview of former FTX executive with R.
                                         Cleary (partial), D. Lowenthal (partial), L. Potter, and J.
                                         Vitullo.

08/13/24   Lauren S. Potter      1.50    Interview former FTX Group executive with R. Cleary, J.
                                         Vitullo, D. Lowenthal (partial), and L. Doxey.

08/13/24   Lauren S. Potter      1.80    Participate in interview of former FTX executive with R.
                                         Cleary (partial), D. Lowenthal (partial), J. Vitullo and I.
                                         Eppler.

08/13/24   Lauren Doxey          1.50    Interview former FTX Group executive with R. Cleary
                                         (partial), L. Potter, J. Vitullo, and D. Lowenthal (partial).

08/13/24   Johanna-Sophie        0.80    Interview of third-party witness with R. Cleary (partial)
           Dikkers                       and D. Lowenthal.

08/14/24   Jason Vitullo         2.20    Participate in interview of former FTX executive with R.
                                         Cleary, L. Potter, K. Black, and I. Eppler.

08/14/24   Ian Eppler            2.20    Participate in interview of former FTX executive with R.
                                         Cleary, L. Potter, J. Vitullo, and K. Black.

08/14/24   Lauren S. Potter      2.20    Participate in interview of former FTX executive with R.
                                         Cleary, J. Vitullo, K. Black, and I. Eppler.

08/14/24   Kimberly Black        2.20    Participate in interview of former FTX executive with R.
                                         Cleary, L. Potter, J. Vitullo, and I. Eppler.

08/15/24   Jason Vitullo         0.50    Correspondence with S. Ehrenberg (S&C) and review
                                         responses re: collection of additional documents for
                                         investigation.

08/15/24   Kimberly Black        0.30    Reviewing corr. from S. Ehrenberg (S&C) re: document
                                         discovery (.2); related corr. to J. Vitullo and D. Lowenthal
                                         (.1).


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           PROJECT 000009 – COMMUNICATIONS WITH PARTIES IN INTEREST

Date       Name                  Hours   Description

08/16/24   Jason Vitullo         1.40    Interview former FTX Group executive with L. Potter and
                                         D. Erroll.

08/16/24   Jason Vitullo         0.20    Make outreach calls to former FTX.US employees re:
                                         interviews with I. Eppler.

08/16/24   Jason Vitullo         0.60    Interview former FTX Group executive with L. Potter and
                                         L. Doxey.

08/16/24   Ian Eppler            0.20    Make outreach calls to former FTX.US employees re:
                                         interviews with J. Vitullo.

08/16/24   Lauren S. Potter      0.60    Interview former FTX Group executive with J. Vitullo and
                                         L. Doxey.

08/16/24   Lauren S. Potter      1.40    Interview former FTX Group executive with J. Vitullo and
                                         D. Erroll.

08/16/24   David Erroll          1.40    Interview former FTX Group executive with L. Potter and
                                         J. Vitullo.

08/16/24   Lauren Doxey          0.60    Interview former FTX Group executive with L. Potter and
                                         J. Vitullo.

08/20/24   Jason Vitullo         1.80    Interview former FTX.US employee with L. Doxey.

08/20/24   Lauren Doxey          1.80    Interview former FTX.US employee with J. Vitullo.

08/21/24   Daniel A. Lowenthal   0.40    Email S. Ehrenberg and S. Wheeler (S&C) re: interview
                                         requests (.2); follow up call with S. Ehrenberg (S&C) (.2).

08/22/24   Daniel A. Lowenthal   0.50    Emails to S. Ehrenberg (S&C), R. Cleary, K. Black, J.
                                         Dikkers, and D. Erroll re: witness interviews.

08/22/24   Ian Eppler            0.10    Emails with S. Kamaraju (Pryor Cashman) re: witness
                                         interview scheduling.

08/23/24   Jason Vitullo         0.20    Make outreach calls to former FTX.US employees to
                                         schedule witness interviews with I. Eppler.

08/23/24   Jason Vitullo         0.10    Correspondence with I. Graff (Fried Frank) re: upcoming
                                         interview of former FTX executive.



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           PROJECT 000009 – COMMUNICATIONS WITH PARTIES IN INTEREST

Date       Name                  Hours   Description

08/23/24   Ian Eppler            0.20    Make outreach calls to former FTX.US employees to
                                         schedule witness interviews with J. Vitullo.

08/24/24   Jason Vitullo         0.20    Correspondence with former FTX employee re: interview
                                         request.

08/26/24   Jason Vitullo         0.60    Further review of AlixPartners presentation (0.5); send call
                                         follow-up inquiries to S. Ehrenberg (S&C), S. Wheeler
                                         (S&C), J. Croke (S&C), B. Mackay (AlixPartners), K.
                                         Wessel (AlixPartners), and M. Evans (AlixPartners).

08/26/24   Jason Vitullo         0.70    Call with B. Mackay (AlixPartners), K. Wessel
                                         (AlixPartners), M. Evans (AlixPartners), S. Ehrenberg
                                         (S&C), S. Wheeler (S&C), J. Croke (S&C), L. Potter, and
                                         I. Eppler to discuss AlixPartners financial analysis of
                                         FTX.US.

08/26/24   Jason Vitullo         0.30    Coordinate outreach to additional potential witnesses re:
                                         FTX.US.

08/26/24   Ian Eppler            0.70    Call with B. Mackay (AlixPartners), K. Wessel
                                         (AlixPartners), M. Evans (AlixPartners), S. Ehrenberg
                                         (S&C), S. Wheeler (S&C), J. Croke (S&C), J. Vitullo, and
                                         L. Potter to discuss AlixPartners financial analysis of
                                         FTX.US.

08/26/24   Lauren S. Potter      0.70    Call with B. Mackay (AlixPartners), K. Wessel
                                         (AlixPartners), M. Evans (AlixPartners), S. Ehrenberg
                                         (S&C), S. Wheeler (S&C), J. Croke (S&C), J. Vitullo, and
                                         I. Eppler to discuss AlixPartners financial analysis of
                                         FTX.US.

08/26/24   Kimberly Black        0.50    Reviewing series of unsolicited emails from third party.

08/27/24   Daniel A. Lowenthal   1.50    Attend (partial) interview of third-party witness.

08/27/24   Jason Vitullo         2.10    Interview former FTX executive with R. Cleary, L. Potter,
                                         and I. Eppler.

08/27/24   Ian Eppler            2.10    Interview former FTX executive with R. Cleary, L. Potter,
                                         and J. Vitullo.




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           PROJECT 000009 – COMMUNICATIONS WITH PARTIES IN INTEREST

Date       Name                  Hours   Description

08/27/24   Lauren S. Potter      2.10    Interview former FTX executive with R. Cleary, J. Vitullo,
                                         and I. Eppler.

08/28/24   Daniel A. Lowenthal   0.10    Review email to third-party witness.

08/28/24   Jason Vitullo         0.60    Call with former FTX executive re: interview request.

08/28/24   Kimberly Black        0.30    Telephone call with D. Lowenthal re: Rule 2004 Motion
                                         and other case updates.

08/29/24   Daniel A. Lowenthal   0.30    Respond to parties in interest that supplied unsolicited
                                         information to the Examiner.

08/29/24   Daniel A. Lowenthal   1.00    Interview former FTX.US employee with R. Cleary, L.
                                         Potter, J. Vitullo, K. Black, and I. Eppler.

08/29/24   Jason Vitullo         0.10    Correspondence with I. Graff (Fried Frank) re: scheduling
                                         interview with former FTX executive.

08/29/24   Ian Eppler            0.20    Email S. Ehrenberg (S&C) re: follow-up on FTX.US
                                         financial analysis.

08/29/24   Ian Eppler            1.00    Interview former FTX.US employee with R. Cleary, D.
                                         Lowenthal, L. Potter, J. Vitullo, and K. Black.

08/29/24   Lauren S. Potter      1.00    Interview former FTX.US employee with R. Cleary, D.
                                         Lowenthal, J. Vitullo, K. Black, and I. Eppler.

08/29/24   Kimberly Black        1.00    Interview former FTX.US employee with R. Cleary, D.
                                         Lowenthal, L. Potter, J. Vitullo, and I. Eppler.



TOTAL                            88.10




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                    PROJECT 000010 – BILLING AND FEE APPLICATIONS

Date       Name                  Hours   Description

08/01/24   Kimberly Black        0.60    Reviewing comments from Ashby & Geddes on draft fee
                                         statement (.3); related research into local rules (.3).

08/01/24   Kimberly Black        0.30    Corr. to D. Lowenthal and R. Cleary re: signing fee
                                         statement.

08/02/24   Kimberly Black        0.50    Analysis of letter sent from Fee Examiner (.2); related
                                         analysis of US trustee guidelines (0.2); corr. to D.
                                         Lowenthal and R. Cleary re: the same (.1).

08/05/24   Daniel A. Lowenthal   0.20    Call with K. Black and R. Cleary re: response to Fee
                                         Examiner’s letter.

08/05/24   Kimberly Black        0.10    Corr. with M. Hancock (GK law) re: Fee Examiner
                                         comments on first interim fee application.

08/05/24   Kimberly Black        0.20    Call with D. Lowenthal and R. Cleary re: response to Fee
                                         Examiner’s letter.

08/06/24   Daniel A. Lowenthal   0.40    Review MDL plaintiffs’ objection to fee applications (.2);
                                         emails to R. Cleary, K. Black, and M. DeBaecke (AG) re:
                                         same (.2).

08/06/24   Kimberly Black        0.20    Corr. with S. Antoneil re: approval date for second monthly
                                         fee app, process for preparing next fee app.

08/07/24   Daniel A. Lowenthal   0.10    Review MDL plaintiff’s initial objection to fee
                                         applications.

08/07/24   Daniel A. Lowenthal   0.10    Emails with M. DeBaecke (AG) re: MDL plaintiffs’
                                         objection to fees.

08/08/24   Daniel A. Lowenthal   0.50    Call with R. Cleary, K. Black, and M. Hancock (GK) re:
                                         Fee Examiner's comments on PBWT fee app.

08/08/24   Daniel A. Lowenthal   0.70    Review Debtors’ and UCC’s response to MDL objection to
                                         fee applications.

08/08/24   Daniel A. Lowenthal   0.50    Review R. Cleary outline for call with Fee Examiner;
                                         emails to and from R. Cleary and K. Black re: same.

08/08/24   Kimberly Black        0.30    Preparing talking points for call with Fee Examiner; related
                                         corr. to R. Clearly and D. Lowenthal.


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                    PROJECT 000010 – BILLING AND FEE APPLICATIONS

Date       Name                  Hours   Description

08/08/24   Kimberly Black        0.50    Call with R. Cleary, D. Lowenthal, and M. Hancock (GK)
                                         re: Fee Examiner's comments on PBWT fee app.

08/08/24   Lauren Doxey          0.10    Emails with D. Lowenthal re: objection to professional
                                         fees.

08/09/24   Daniel A. Lowenthal   0.40    Email A. Moskowitz (Moskowitz Law) (.1); telephone call
                                         with A. Moskowitz (Moskowitz Law) re: motion to pause
                                         payment of professional fees (.1); email R. Cleary, K.
                                         Black, and M. DeBaecke (AG) re: same (.2).

08/09/24   Kimberly Black        0.20    Reviewing notice of withdrawal of fee app objection;
                                         related corr. to D. Lowenthal, R. Cleary and M. DeBaecke
                                         (AG).

08/13/24   Daniel A. Lowenthal   0.10    Attention to billing.

08/14/24   Daniel A. Lowenthal   0.20    Confirm reply deadline to fee application.

08/15/24   Kimberly Black        0.50    Preparing July monthly fee statement; related corr. with M.
                                         Garcia.

08/16/24   Maritza Garcia        2.30    Analyze case team time entries for privilege and sensitivity
                                         concerns in preparation for monthly fee application.

08/19/24   Maritza Garcia        5.80    Analyze case team time entries for privilege and sensitivity
                                         concerns in preparation for monthly fee application.

08/20/24   Kimberly Black        0.20    Corr. with M. Garcia re: edits to the July fee statement.

08/20/24   Maritza Garcia        1.80    Analyze case team time entries for privilege and sensitivity
                                         concerns in preparation for monthly fee application.

08/21/24   Daniel A. Lowenthal   0.10    Review CNO for second monthly fee application.

08/21/24   Kimberly Black        1.00    Reviewing July proformas for privilege and sensitivity
                                         concerns.

08/21/24   Maritza Garcia        2.50    Analyze case team time entries for privilege and sensitivity
                                         concerns in preparation for monthly fee application.

08/22/24   Daniel A. Lowenthal   0.10    Emails to and from K. Black re: fee statement.



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                    PROJECT 000010 – BILLING AND FEE APPLICATIONS

Date       Name                  Hours   Description

08/22/24   Daniel A. Lowenthal   0.20    Revise fee statement.

08/22/24   Kimberly Black        0.10    Corr. to D. Erroll and M. Garcia re: confidential material in
                                         diary entries.

08/22/24   Kimberly Black        0.30    Corr. to I. Eppler re: confidential information in diary
                                         entries; corr. to R. Cleary and D. Lowenthal re: the same;
                                         corr. to I. Eppler, L. Potter, J. Vitullo, R. Cleary, D.
                                         Lowenthal, L. Doxey, J. Dikkers, M. Garcia, and D. Erroll
                                         re: instructions for future drafting of diaries to avoid
                                         confidentiality concerns.

08/22/24   Kimberly Black        0.10    Corr. to D. Lowenthal and M. Garcia re: confidential
                                         information in diary entries.

08/22/24   Maritza Garcia        1.80    Analyze case team time entries for privilege and sensitivity
                                         concerns in preparation for monthly fee application.

08/26/24   Kimberly Black        0.10    Corr. to M. Garcia re: draft third fee statement.

08/26/24   Kimberly Black        0.10    Corr. to A. Patel re: LEDES file for UST.

08/26/24   Maritza Garcia        3.90    Analyze case team time entries for privilege and sensitivity
                                         concerns in preparation for monthly fee application.

08/27/24   Kimberly Black        0.30    Corr. with L. Thomas (UST) re: LEDES file; related corr.
                                         with A. Patel.

08/27/24   Kimberly Black        0.80    Reviewing July proformas for conforming to new
                                         confidentiality guidelines.

08/27/24   Maritza Garcia        1.90    Finalize edits to case team time entries for privilege and
                                         sensitivity concerns in preparation for monthly fee
                                         application.

08/27/24   Maritza Garcia        1.80    Draft third monthly fee statement.

08/28/24   Kimberly Black        0.10    Corr. to M. Garcia re: draft fee statement.

08/28/24   Kimberly Black        0.10    Corr. with L. Thomas (UST) re: LEDES file.

08/28/24   Maritza Garcia        6.30    Draft third monthly fee statement.



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                    PROJECT 000010 – BILLING AND FEE APPLICATIONS

Date       Name                  Hours   Description

08/29/24   Daniel A. Lowenthal   0.30    Review revised fee application; email K. Black and M.
                                         Garcia re: same.

08/29/24   Kimberly Black        0.50    Reviewing draft third fee statement; corr. to R. Cleary and
                                         D. Lowenthal re: draft third fee statement.

08/29/24   Maritza Garcia        0.80    Revise third monthly fee statement.

08/30/24   Daniel A. Lowenthal   0.20    Review updated draft fee application; email R. Cleary, K.
                                         Black, and M. Garcia re: same.

08/30/24   Kimberly Black        0.50    Corr. with M. DeBaecke (AG) re: timing for filing third fee
                                         statement; related corr. with D. Lowenthal and R. Cleary;
                                         finalizing fee app for filing.

08/30/24   Kimberly Black        0.50    Reviewing revised fee statement; related corr. with M.
                                         DeBaecke (AG); reviewing M. DeBaecke (AG) comments
                                         on draft fee statement.



TOTAL                            41.20




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